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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA



IN RE: GENERIC DIGOXIN AND               MDL No. 2724
DOXYCYCLINE ANTITRUST                    No. 16-md-2724-CMR
LITIGATION
                                         HONORABLE CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO
ALL END-PAYER ACTIONS
(Nos. 16-16-cv-990, 16-cv-1371, 16-cv-   CLASS ACTION
1388, 16-cv-1534, 16-cv-1954, 16-cv-
2031, 16-cv-2077, 16-cv-2169, 16-cv-     JURY TRIAL DEMANDED
2191, 16-cv-2468, 16-cv-2810, 16-cv-
3091, 16-cv-3576, 16-cv-3635, 16-cv-
4308, 16-cv-4818, 16-cv-5016)




                          END-PAYER PLAINTIFFS’
                   CONSOLIDATED CLASS ACTION COMPLAINT
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                              I.      NATURE OF THE ACTION

       1.      For more than two years, federal and state enforcement agencies have been

investigating price-fixing and bid-rigging by companies in the generic drug industry, including

the manufacturers of generic digoxin and generic doxycycline.1 Those investigations followed a

Congressional inquiry and hearing concerning a significant spike in generic drug pricing.

       2.      On January 9, 2017, two executives of a manufacturer of generic doxycycline

pled guilty in federal court in the Eastern District of Pennsylvania to criminal price-fixing,

thereby confirming the existence of a conspiracy among manufacturers to fix prices. In addition,

in December 2016, the Attorneys General of 20 states filed a civil complaint in the United States

District Court for the District of Connecticut also alleging price fixing of generic doxycycline.

       3.      This case is brought by indirect purchasers of generic digoxin and doxycycline

(“End-Payers” or “Plaintiffs”) to recoup overcharges that resulted from Defendants’ price-fixing

conspiracy.   Plaintiffs bring this action both individually and on behalf of (a) a national

injunctive class of persons or entities in the United States and its territories who indirectly

purchased, paid and/or provided reimbursement for some or all of the purchase price of generic

digoxin and doxycycline products manufactured by any Defendant from October 1, 2012 to the

present, and (b) a damages class of persons or entities in the states identified herein, the District

of Columbia and U.S. territories who indirectly purchased, paid and/or provided reimbursement

for some or all of the purchase price of generic digoxin and generic doxycycline products

manufactured by any Defendant, other than for resale, from October 1, 2012 to the present.



1
  As used herein, the term “digoxin” is intended to refer to doses of generic digoxin taken orally
in the form of a tablet. As used herein, the term “doxycycline” will refer to generic doxycycline
hyclate, including the delayed release (“DR”) version of doxycycline hyclate taken in the form of
a tablet or capsule, unless otherwise indicated.
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         4.      Defendants engaged in a conspiracy to allocate customers, rig bids and fix,

maintain and/or stabilize the prices of generic digoxin and doxycycline. As a result of

Defendants’ unlawful conduct, Plaintiffs and the other members of the proposed Classes paid

artificially inflated prices. All allegations herein are based on information and belief, except for

those relating to Plaintiffs.

         5.      Digoxin is used to treat mild to moderate heart failure in adults, increase the heart

contracting functions for pediatric patients with heart failure, and control the resting heart rate in

adult patients with chronic atrial fibrillation. It is derived from the leaves of the digitalis (or

foxglove) plant and was first described in medical literature around 1785. It is on the World

Health Organization’s (“WHO”) list of essential medicines.2 Digoxin must be taken daily and

exactly as prescribed to be effective; failure to take digoxin as prescribed can have catastrophic

consequences.

         6.      Doxycycline is a broad spectrum antibiotic that entered the market in 1985 and is

used in treating humans and animals. It is used to treat bacterial pneumonia, acne, chlamydia

infections, Clostridium difficile colitis, early Lyme disease, cholera and syphilis, as well as

malaria when used in conjunction with quinine. Doxycycline is also on WHO’s list of essential

medicines.3

               II.     ON-GOING FEDERAL AND STATE INVESTIGATIONS

         7.      In 2014, the Antitrust Division of the United States Department of Justice

(“DOJ”) commenced a wide-ranging criminal investigation of a broad conspiracy to fix the

prices of generic drugs, including, but not limited to, generic digoxin and generic doxycycline,

and has caused grand jury subpoenas to be issued to various of the defendants named here.

2
    See http://apps.who.int/medicinedocs/en/d/Js2253e/3.4.html#Js2253e.3.4.
3
    See http://apps.who.int/medicinedocs/en/d/Jh2922e/2.5.8.html#Jh2922e.2.5.8.
                                                   2
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According to one report, prosecutors see the case much like DOJ’s antitrust probe of the auto

parts industry, which has gone on for years and morphed into the DOJ’s largest criminal antitrust

probe ever. See In re Automotive Parts Antitrust Litig., No. 2:12-md-02311 (E.D. Mich.). Like

in that case, prosecutors expect “to move from one drug to another in a similar cascading

fashion.”4 According to a recent Bloomberg report, “[t]he antitrust investigation by the Justice

Department, begun about two years ago, now spans more than a dozen companies and about two

dozen drugs, according to people familiar with the matter.”5

       8.      On December 12 and 13, 2016, DOJ filed criminal Informations against Jeffrey

Glazer (“Glazer”) and Jason Malek (“Malek”) (both named as Defendants here), the respective

former Chief Executive Officer and President of Heritage Pharmaceuticals, Inc. (“Heritage”)

(also named a Defendant here). The criminal Informations accuse both men of conspiring with

unidentified co-conspirators to “knowingly enter[] into and engag[e] in a combination and

conspiracy with other persons and entities engaged in the production and sale of generic

pharmaceutical products, including doxycycline hyclate, the primary purpose of which was to

allocate customers, rig bids, and fix and maintain prices of doxycycline hyclate sold in the

United States.” Information ¶ 6, United States v. Glazer, No. 2:16-cr-00506-RBS (E.D. Pa. Dec.

12, 2016) (ECF No. 1); Information ¶ 6, United States v. Malek, No. 2:16-cr-00508-RBS (E.D.

Pa. Dec. 13, 2016) (ECF No. 1).

       9.      A press release issued by DOJ in conjunction with these filings stated:

               Millions of Americans rely on prescription medications to treat
               acute and chronic health conditions. By entering into unlawful
               agreements to fix prices and allocate customers, these two

4
  http://www.mergermarket.com/pdf/DoJ-Collusion-Generic-Drug-Prices-2015.pdf.
5
  http://www.bloomberg.com/news/articles/2016-11-03/u-s-charges-in-generic-drug-probe-said-
to-be-filed-by-year-end.


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              executives sought to enrich themselves at the expense of sick and
              vulnerable individuals who rely upon access to generic
              pharmaceuticals as a more affordable alternative to brand-name
              medicines, said Deputy Assistant Attorney General Brent Snyder
              of the Justice Department’s Antitrust Division. “These charges are
              an important step in correcting that injustice and in ensuring that
              generic pharmaceutical companies compete vigorously to provide
              these essential products at a price set by the market, not by
              collusion.

              Conspiring to fix prices on widely-used generic medications skews
              the market, flouts common decency – and very clearly breaks the
              law, said Special Agent in Charge Michael Harpster of the FBI’s
              Philadelphia Division. It’s a sad state of affairs when these
              pharmaceutical executives are determined to further pad their
              profits on the backs of people whose health depends on the
              company’s drugs. The FBI stands ready to investigate and hold
              accountable those who willfully violate federal antitrust law.6

       10.    On January 9, 2017, Glazer and Malek pled guilty to felony charges that they

conspired with competitors to manipulate prices and allocate customers for doxycycline.

Defendant Glazer admitted that:

       [he] participated in a conspiracy with other persons and entities engaged in
       the production and sale of generic pharmaceutical products including
       Doxycycline Hyclate, the primary purpose of which was to allocate
       customers, rig bids and fix and maintain prices of Doxycycline Hyclate
       sold in the United States in furtherance of the conspiracy.

       Defendant and his co-conspirators, including individuals that the
       defendant supervised at his company and those he reported to at his
       company’s parent, engaged in discussions and attended meetings with the
       co-conspirators involved in the production and sale of Doxycycline
       Hyclate. During such discussions and meetings, agreements were reached
       to allocate customers, rig bids and fix and maintain the prices of
       Doxycycline Hyclate sold in the United States.7




6
  https://www.justice.gov/opa/pr/former-top-generic-pharmaceutical-executives-charged-price-
fixing-bid-rigging-and-customer.
7
  Tr. of Plea Hearing at 19:16-20:4, United States v. Glazer, No. 2:16-cr-00506-RBS (E.D. Pa.
Jan. 9, 2017) (ECF No. 24); see also id. at 22:4-11 (admitting facts).
                                                4
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       11.     Defendant Malek admitted substantially the same facts.8

       12.     In addition, a federal grand jury empaneled in the Eastern District of Pennsylvania

has issued subpoenas to other generic manufacturers, including Defendant Lannett Co., Inc.

(“Lannett”) and Lannett’s Vice-President of Sales and Marketing (believed to be Kevin Smith

(“Smith”); Defendant Impax Laboratories, Inc. (“Impax”) and an unidentified sales

representative of Impax; Allergan, Inc. (“Allergan”), the predecessor to Defendant Actavis

Holdco U.S. Inc. (“Actavis”); Defendant Par Pharmaceutical, Inc. (“Par”); Defendant Sun

Pharmaceutical Industries, Inc. (“Sun”); Defendant Mayne Pharma USA, Inc. (“Mayne”), and

Defendant Mylan Pharmaceuticals, Inc. (“Mylan”).

       13.     A report from the legal news service mlex indicated that DOJ had received

assistance from a privately-held company that came forward as a leniency applicant in the

summer of 2016: “While the Justice Department didn’t have a whistleblower at the beginning of

the investigation, it is understood that this summer a company applied for leniency, which grants

full immunity to the first company to come forward and admit to cartel violations.”

       14.     In addition to the federal criminal investigation, George Jepsen (“Jepsen”), the

Connecticut Attorney General (“AG”), began an investigation in July of 2014 concerning the

dramatic price increases in generic digoxin. That investigation expanded considerably over the

next two years. On December 15, 2016, the AGs of 20 states, led by Connecticut, filed a

Complaint against multiple corporate manufacturers and distributors of, inter alia, doxycycline,

including many of the defendants named in this Complaint.           See State of Connecticut v.

Aurobindo Pharma USA, Inc., No. 3:16-cv-2056 VLB (D. Conn.) (“AG Complaint”). In a press

release, Jepsen said that:

8
 Tr. of Plea Hearing at 19:12-20:1, United States v. Malek, No. 2:16-cr-00508-RBS (E.D. Pa.
Jan. 9, 2017) (ECF No. 24); see also id. at 21:23-22:6 (admitting facts).
                                                5
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               My office has dedicated significant resources to this investigation
               for more than two years and has developed compelling evidence of
               collusion and anticompetitive conduct across many companies that
               manufacture and market generic drugs in the United States.…
               While the principal architect of the conspiracies addressed in this
               lawsuit was Heritage Pharmaceuticals, we have evidence of
               widespread participation in illegal conspiracies across the generic
               drug industry. Ultimately, it was consumers – and, indeed, our
               healthcare system as a whole – who paid for these actions through
               artificially high prices for generic drugs.
                                                ***
               In July 2014, the state of Connecticut initiated an investigation of
               the reasons behind suspicious price increases of certain generic
               pharmaceuticals. The investigation, which is still ongoing as to a
               number of additional generic drugs, uncovered evidence of a well-
               coordinated and long-running conspiracy to fix prices and allocate
               markets for doxycycline hyclate delayed release and glyburide. In
               today's lawsuit, the states allege that the misconduct was conceived
               and carried out by senior drug company executives and their
               subordinate marketing and sales executives.
               The complaint further alleges that the defendants routinely
               coordinated their schemes through direct interaction with their
               competitors at industry trade shows, customer conferences and
               other events, as well as through direct email, phone and text
               message communications. The anticompetitive conduct – including
               efforts to fix and maintain prices, allocate markets and otherwise
               thwart competition – caused significant, harmful and continuing
               effects in the country’s healthcare system, the states allege.
               The states further allege that the drug companies knew that their
               conduct was illegal and made efforts to avoid communicating with
               each other in writing or, in some instances, to delete written
               communications after becoming aware of the investigation. The
               states allege that the companies’ conduct violated the federal
               Sherman Act and are asking the court to enjoin the companies
               from engaging in illegal, anticompetitive behavior and for
               equitable relief, including substantial financial relief, to address the
               violations of law and restore competition.9




9
    http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.
                                                  6
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          15.    The publicly available version of the AG Complaint is heavily redacted. Among

the obscured portions are the contents of conspiratorial communications among competitors,

which Jepsen recently described as “mind-boggling.”10

          16.    These criminal Informations, guilty pleas, and the AG Complaint are merely the

tip of the iceberg. Indeed, the AG Complaint specifically refers to a “wide-ranging series of

conspiracies implicating numerous different drugs and competitors,” and a January 27, 2017

report stated that “new subpoenas are going out, and the [state AG] investigation is growing

beyond the companies named in the suit.”11

                                   III. JURISDICTION AND VENUE

          17.    Plaintiffs bring Count One of this action under Section 16 of the Clayton Act (15

U.S.C. § 26) for injunctive relief and costs of suit, including reasonable attorneys’ fees against

Defendants for the injuries sustained by Plaintiffs and the members of the Classes described

herein by reason of the violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. § 1, 3).

          18.    This action is also instituted under the antitrust, consumer protection, and

common laws of various states for damages and equitable relief, as described in Counts Two

through Four below.

          19.    Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331 and 1337 and by

Section 16 of the Clayton Act (15 U.S.C. § 26). In addition, jurisdiction is also conferred upon

this Court by 28 U.S.C. § 1367.

          20.    Venue is proper in this District pursuant to 15 U.S.C. § 15(a) and 22 and 28 U.S.C

§ 1391(b), (c) and (d) because, during the Class Period, Defendants resided, transacted business,

were found, or had agents in this District, and a substantial portion of the affected interstate trade

10
     http://ctmirror.org/2017/01/27/how-a-small-state-ags-office-plays-in-the-big-leagues/.
11
     Id.
                                                  7
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and commerce described below has been carried out in this District. Venue is also proper in this

District because the federal grand jury investigating the pricing of generic drugs is empaneled

here and therefore it is likely that acts in furtherance of the alleged conspiracy took place here,

where Lannett and Mylan are headquartered and where Impax’s generics division, Global

Pharmaceuticals (“Global”), is located.

        21.     This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District;

(b) sold digoxin or doxycycline throughout the United States, including in this District; (c) had

substantial contacts with the United States, including in this District; and/or (d) was engaged in

an illegal scheme and price-fixing conspiracy that was directed at and had the intended effect of

causing injury to persons residing in, located in, or doing business throughout the United States,

including in this District.

                                      IV.    PLAINTIFFS

        22.     Plaintiff International Union of Operating Engineers Local 30 Benefits Fund

(“IUOE 30”) is a local union that has served the interests of operating engineers and facilities

maintenance workers for over a century. It is headquartered in Whitestone, New York. IUOE 30

provides health care, retirement and other benefits to both private sector and municipal

employees through a series of not-for-profit trust funds. Retired private sector and municipal

employees, who reside in numerous locations in the United States, can obtain benefits under

either IUOE 30 Private Industry Retiree Benefit Plans or the IUOE 30 Municipal Retired

Employees Welfare Trust Fund. IUOE 30 provides these benefits to over 4,700 people. During

the Class Period, IUOE 30 indirectly purchased and paid for some or all of the purchase price for

one or more generic digoxin prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Illinois, Massachusetts,
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New York, and Pennsylvania, thereby suffering injury to its business and property. During the

Class Period, IUOE 30 indirectly purchased and paid for some or all of the purchase price for

one or more generic doxycycline prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Connecticut, Maryland,

New Jersey, New York, North Dakota, Pennsylvania, and Virginia, thereby suffering injury to its

business and property. During the Class Period, IUOE 30 paid and reimbursed more for these

products than it would have absent Defendants’ anticompetitive conduct to fix, raise, maintain,

and stabilize the prices and allocate markets and customers for those products. As a result of the

alleged conspiracy, Plaintiff IUOE 30 was injured in its business or property by reason of the

violations of law alleged herein. IUOE 30 intends to continue purchasing and/or reimbursing for

these drugs and will continue to be injured unless the Defendants are enjoined from their

unlawful conduct as alleged herein.

       23.     Plaintiff UFCW Local 1500 Welfare Fund (“Local 1500”) is an employee welfare

benefits fund with its principal place of business at 425 Merrick Avenue, Westbury, New York,

11590. Local 1500 provides nearly 23,000 members with health and welfare benefits and is the

largest grocery union in New York. During the Class Period, Local 1500 indirectly purchased

and paid for some or all of the purchase price for one or more generic digoxin prescriptions,

other than for resale, manufactured by the Defendants. Plaintiff made such payments and/or

reimbursements in New York. During the Class Period, Local 1500 indirectly purchased and

paid for some or all of the purchase price for one or more generic doxycycline prescriptions,

other than for resale, manufactured by the Defendants. Plaintiff made such payments and/or

reimbursements in New York. During the Class Period, Local 1500 purchased and paid more for

these products than it would have absent Defendants’ anticompetitive conduct to fix, raise,



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maintain, and stabilize the prices and allocate markets and customers for these products. As a

result of the alleged conspiracy, Plaintiff Local 1500 was injured in its business or property by

reason of the violations of law alleged herein. Local 1500 intends to continue purchasing and/or

reimbursing for these drugs and will continue to be injured unless the Defendants are enjoined

from their unlawful conduct as alleged herein.

       24.     Plaintiff United Food & Commercial Workers and Employers Arizona Health and

Welfare Trust (“UFCW”) is an employee welfare benefits fund with its principal place of

business at Maricopa County, Arizona. During the Class Period, UFCW indirectly purchased and

paid for some or all of the purchase price for one or more generic digoxin prescriptions, other

than for resale, manufactured by one of the Defendants. Plaintiff made such payments and/or

reimbursements in Arizona, California, Colorado, Nevada, and New Mexico. During the Class

Period, UFCW indirectly purchased and paid for some or all of the purchase price for one or

more generic doxycycline prescriptions, other than for resale, manufactured by one of the

Defendants. Plaintiff made such payments and/or reimbursements in Arizona, California,

Colorado, Indiana, Maine, Massachusetts, Missouri, Montana, Nevada, New Mexico, Ohio,

Oklahoma, Oregon, Pennsylvania, Tennessee, Texas, Utah, Virginia, Washington, and

Wyoming. During the Class Period, UFCW purchased and paid more for these products than it

would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize the

prices and allocate markets and customers for these products. As a result of the alleged

conspiracy, Plaintiff UFCW was injured in its business or property by reason of the violations of

law alleged herein. UFCW intends to continue purchasing and/or reimbursing for these drugs

and will continue to be injured unless the Defendants are enjoined from their unlawful conduct

as alleged herein.



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       25.     Plaintiff Unite Here Health (“UHH”) is a multi-employer trust fund composed of

union and employer representatives, whose mission is to provide health benefits that offer high-

quality, affordable healthcare to its participants at a better value and with a better service than is

otherwise available in the market. Headquartered in Aurora, Illinois, UHH has served union

workers in the hospitality, food service, and gaming industries for the past several decades.

During the Class Period, UHH indirectly purchased and paid for some or all of the purchase

price for one or more generic digoxin prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Arizona, California,

Connecticut, Florida, Illinois, Indiana, Maryland, Massachusetts, Mississippi, Nevada, New

Hampshire, New Jersey, New York, Ohio, Pennsylvania, South Carolina, Texas, Virginia,

Washington, and West Virginia. During the Class Period, UHH indirectly purchased and paid for

some or all of the purchase price for one or more generic doxycycline prescriptions, other than

for resale, manufactured by the Defendants. Plaintiff made such payments and/or

reimbursements in Alabama, Arizona, Arkansas, California, Colorado, Connecticut, District of

Columbia, Delaware, Florida, Georgia, Hawaii, Indiana, Iowa, Kansas, Louisiana, Maine,

Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Montana, Nevada, New

Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio,

Pennsylvania, Rhode Island, South Carolina, Tennessee, Texas, Utah, Virginia, Washington,

Wisconsin, and Wyoming. During the Class Period, UHH purchased and paid more for these

products than it would have absent Defendants’ anticompetitive conduct to fix, raise, maintain,

and stabilize the prices and allocate markets and customers for these products. As a result of the

alleged conspiracy, Plaintiff UHH was injured in its business or property by reason of the

violations of law alleged herein. UHH intends to continue purchasing and/or reimbursing for



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these drugs and will continue to be injured unless the Defendants are enjoined from their

unlawful conduct as alleged herein.

       26.     Plaintiff Plumbers and Pipefitters Local 178 Health & Welfare Trust Fund

(“Local 178”) is an employee welfare benefits fund with its principal place of business at 2501

W. Grand, Springfield, Missouri, 65802. Local 178 represents over 400 Union trained plumbers,

pipefitters, steamfitters, refrigeration fitters, and service technicians in the state of Missouri.

During the class period, Local 178 indirectly purchased and paid for some or all of the purchase

price for one or more generic digoxin prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Missouri. During the Class

Period, Local 178 indirectly purchased and paid for some or all of the purchase price for one or

more generic doxycycline prescriptions, other than for resale, manufactured by the Defendants.

Plaintiff made such payments and/or reimbursements in Missouri. During the Class Period, Local

178 purchased and paid more for these products than it would have absent Defendants’

anticompetitive conduct to fix, raise, maintain, and stabilize the prices and allocate markets and

customers for these products. As a result of the alleged conspiracy, Plaintiff Local 178 was

injured in its business or property by reason of the violations of law alleged herein. Local 178

intends to continue purchasing and/or reimbursing for these drugs and will continue to be injured

unless the Defendants are enjoined from their unlawful conduct as alleged herein.

       27.     Plaintiff Fraternal Order of Police, Miami Lodge 20, Insurance Trust Fund (“FOP

Miami”) is a governmental plan established and funded through contributions from the City of

Miami and the plan’s members, who are current and retired sworn officers from the City of

Miami Police Department and their dependents. FOP Miami was established pursuant to a duly

executed Trust Agreement for the purpose of providing medical, surgical and hospital care or



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benefits, including prescription drug benefits, to its members. FOP Miami maintains its principal

place of business at 400 NW 2nd Avenue, Miami, Florida, and is a citizen of Florida. FOP

Miami provides these benefits to over 4,168 people. During the Class Period, FOP Miami

indirectly purchased and paid for some or all of the purchase price for one or more generic

digoxin prescriptions, other than for resale, manufactured by the Defendants. Plaintiff made such

payments and/or reimbursements in Alabama, Florida, Georgia, North Carolina, and Texas,

thereby suffering injury to its business and property. During the Class Period, FOP Miami

indirectly purchased and paid for some or all of the purchase price for one or more generic

doxycycline prescriptions, other than for resale, manufactured by the Defendants. Plaintiff made

such payments and/or reimbursements in Alabama, Arizona, Arkansas, Colorado, Florida,

Georgia, Illinois, Kentucky, Louisiana, Mississippi, New York, North Carolina, Pennsylvania,

Rhode Island, South Carolina, Tennessee, Texas, Virginia, Washington, and West Virginia,

thereby suffering injury to its business and property. During the Class Period, FOP Miami paid

and reimbursed more for these products than it would have absent Defendants’ anticompetitive

conduct to fix, raise, maintain, and stabilize the prices and allocate markets and customers for

those products. As a result of the alleged conspiracy, Plaintiff FOP Miami was injured in its

business or property by reason of the violations of law alleged herein. FOP Miami intends to

continue purchasing and/or reimbursing for these drugs and will continue to be injured unless the

Defendants are enjoined from their unlawful conduct as alleged herein.

       28.    Plaintiff City of Providence, Rhode Island (“Providence”) is a municipal

corporation with a principal address of 444 Westminster Street, Suite 220, Providence, Rhode

Island, 02903. Providence is a self-insured health and welfare plan. Providence provides health

and prescription benefits to over 12,000 people. During the Class Period, Providence indirectly



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purchased and paid for some or all of the purchase price for one or more generic digoxin

prescriptions, other than for resale, manufactured by the Defendants. Plaintiff made such

payments and/or reimbursements in Florida, Illinois, Massachusetts, New Hampshire, New

York, North Carolina, Pennsylvania and Rhode Island, thereby suffering injury to its business

and property. During the Class Period, Providence indirectly purchased and paid for some or all

of the purchase price for one or more generic doxycycline prescriptions, other than for resale,

manufactured by the Defendants. Plaintiff made such payments and/or reimbursements in

Arizona, California, Connecticut, Florida, Georgia, Illinois, Maine, Maryland, Massachusetts,

Mississippi, Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina,

Ohio, Pennsylvania, Rhode Island, South Carolina, Texas, The U.S. Virgin Islands, Vermont,

Virginia, and Wisconsin, thereby suffering injury to its business and property. During the Class

Period, Providence paid and/or reimbursed more for these products than it would have absent

Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize the prices and allocate

markets and customers for those products. As a result of the alleged conspiracy, Plaintiff

Providence was injured in its business or property by reason of the violations of law alleged

herein. Providence intends to continue purchasing and/or reimbursing for these drugs and will

continue to be injured unless the Defendants are enjoined from their unlawful conduct as alleged

herein.

          29.   Plaintiff NECA-IBEW Welfare Trust Fund (“NECA”) is an employee health and

welfare benefit plan that has served the interests of electrical contractors and workers for

decades. NECA maintains its principal place of business at 2120 Hubbard Avenue, Decatur,

Illinois. It provides health care, retirement and other benefits to approximately 24,000 people.

During the Class Period, NECA indirectly purchased and paid for some or all of the purchase



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price for one or more generic digoxin prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Florida, Georgia, Illinois,

Indiana, Kentucky, Missouri, New Jersey, Texas, and Wisconsin, thereby suffering injury to its

business and property. During the Class Period NECA indirectly purchased and paid for some or

all of the purchase price for one or more doxycycline prescriptions, other than for resale,

manufactured by the Defendants. Plaintiff made such payments and/or reimbursements in

Alabama, Arkansas, Arizona, California, Colorado, Connecticut, Florida, Georgia, Hawaii,

Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Michigan, Minnesota, Mississippi,

Missouri, Nebraska, Nevada, New Jersey, New York, North Carolina, Ohio, Oregon,

Pennsylvania, South Carolina, Tennessee, Texas, Wisconsin and Wyoming, thereby suffering

injury to its business and property. During the Class Period, NECA paid and reimbursed more

for these products than it would have absent Defendants’ anticompetitive conduct to fix, raise,

maintain, and stabilize the prices and allocate markets and customers for those products. As a

result of the alleged conspiracy, Plaintiff NECA was injured in its business or property by reason

of the violations of law alleged herein. NECA intends to continue purchasing and/or reimbursing

for these drugs and will continue to be injured unless the Defendants are enjoined from their

unlawful conduct as alleged herein.

       30.     Plaintiff Twin Cities Pipe Trades Welfare Fund (“Pipe Trades Fund”) is an

employee welfare benefits plan with its principal place of business in White Bear Lake,

Minnesota. Pipe Trades Fund is the sponsor of a plan of benefits that is Pipe Trades Services MN

Welfare Fund, which provides health benefits, including prescription drug benefits, to

approximately 16,000 active participants and retirees, plus their spouses and dependents. During

the Class Period, Pipe Trades Fund indirectly purchased some or all of the purchase price for one



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or more generic digoxin prescriptions, other than for resale, manufactured by the Defendants.

Plaintiff made such payments and/or reimbursements in Minnesota and Wisconsin. During the

Class Period, Pipe Trades Fund also indirectly indirectly purchased and paid for some or all of

the purchase price for one or more generic doxycyclene prescriptions, other than for resale,

manufactured by the Defendants. Plaintiff made such payments and/or reimbursements in

Minnesota. Pipe Trades Fund paid or reimbursed some or all of the purchase price for each of

these prescriptions during the Class Period. During the Class Period, Pipe Trades Fund

purchased and paid more for these products than it would have absent Defendants’

anticompetitive conduct to fix, raise, maintain, and stabilize the prices and allocate markets and

customers for these products. As a result of the alleged conspiracy, Pipe Trades Fund was

injured in its business or property by reasons of the violations of law alleged herein. Pipes Trades

Fund intends to continue purchasing and/or reimbursing for these drugs and will continue to be

injured unless the Defendants are enjoined from their unlawful conduct as alleged herein.

       31.     Plaintiff Philadelphia Federation of Teachers Health and Welfare Fund

(“Philadelphia Teacher’s Fund”) is a voluntary employee benefits plan organized pursuant to

§ 501(c) of the Internal Revenue Code to provide health benefits to its eligible participants and

beneficiaries. Philadelphia Teacher’s Fund maintains its principal place of business in

Philadelphia, Pennsylvania. It provides health benefits, including prescription drug benefits, to

approximately 34,000 beneficiaries and covered spouses and dependents. During the Class

Period Philadelphia Teacher’s Fund indirectly purchased and paid for some or all of the purchase

price for one or more digoxin prescriptions, other than for resale, manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in Delaware, Maryland, New

Jersey and Pennsylvania. During the Class Period Philadelphia Teacher’s Fund also indirectly



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purchased and paid for some or all of the purchase price for one or more doxycycline

prescriptions, other than for resale, manufactured by the Defendants. Plaintiff made such

payments and/or reimbursements in Arizona, California, the District of Columbia, Delaware,

Florida, Georgia, Illinois, Louisiana, Maine, Massachusetts, Michigan, Maryland, Missouri, New

Hampshire, New Jersey, New York, North Carolina, Ohio, Pennsylvania, Rhode Island, South

Carolina, Tennessee, Texas, and Washington. Philadelphia Teacher’s Fund paid or reimbursed

some or all of the purchase price for each of these prescriptions during the Class Period. During

the Class Period, Philadelphia Teacher’s Fund purchased and paid more for these products than it

would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize the

prices and allocate markets and customers for these products. As a result of the alleged

conspiracy, Philadelphia Teacher’s Fund was injured in its business or property by reasons of the

violations of law alleged herein. Philadelphia Teacher’s Fund intends to continue purchasing

and/or reimbursing for these drugs and will continue to be injured unless the Defendants are

enjoined from their unlawful conduct as alleged herein.

       32.    Plaintiff Plumbers and Steamfitters Local 33 Health and Welfare Fund

(“Plumbers Local 33”) is an employee welfare benefits fund administered in in Des Moines,

Iowa. It provides health benefits to plan members. During the Class Period Plumbers Local 33

indirectly purchased indirectly purchased and paid for some or all of the purchase price for one

or more generic digoxin prescriptions, other than for resale, manufactured by the Defendants.

Plaintiff made such payments and/or reimbursements in Iowa. During the Class Period Plumbers

Local 33 also indirectly purchased and paid for some or all of the purchase price for one or more

generic doxycycline prescriptions, other than for resale, manufactured by the Defendants.

Plaintiff made such payments and/or reimbursements in Iowa, Nebraska and South Dakota.



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Plumbers Local 33 paid or reimbursed some or all of the purchase price for these prescriptions

during the Class Period. During the Class Period, Plumbers Local 33 purchased and paid more

for these products than it would have absent Defendants’ anticompetitive conduct to fix, raise,

maintain, and stabilize the prices and allocate markets and customers for these products. As a

result of the alleged conspiracy, Plumbers Local 33 was injured in its business or property by

reasons of the violations of law alleged herein. Plumbers Local 33 intends to continue purchasing

and/or reimbursing for these drugs and will continue to be injured unless the Defendants are

enjoined from their unlawful conduct as alleged herein.

       33.     Plaintiff Nina Diamond (“Diamond”) is an individual and resident of Atlantic

Beach, New York. During the Class Period, Diamond indirectly purchased generic digoxin

manufactured by the Defendants. She purchased digoxin in New York for her personal use and

was not reimbursed for her purchases, thereby suffering injury to her property. During the Class

Period, Diamond paid more for generic digoxin than she would have absent Defendants’

anticompetitive conduct to fix, raise, maintain, and stabilize the prices and allocate markets and

customers for generic digoxin. As a result of the alleged conspiracy, Plaintiff Diamond was

injured by reason of the violations of law alleged herein.        Diamond intends to continue

purchasing these drugs and will continue to be injured unless the Defendants are enjoined from

their unlawful conduct as alleged herein.

       34.     Plaintiff Valerie Velardi (“Velardi”) is an individual and resident of San

Francisco, California. During the Class Period, Velardi indirectly purchased generic doxycycline

manufactured by the Defendants. She made her purchases of doxycycline in California for her

personal use at its full retail price and was not reimbursed for her purchase, thereby suffering

injury to her property. During the Class Period, Velardi paid more for generic doxycycline than



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she would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize

the prices and allocate markets and customers for doxycycline. As a result of the alleged

conspiracy, Plaintiff Velardi was injured by reason of the violations of law alleged herein.

Velardi intends to continue purchasing these drugs and will continue to be injured unless the

Defendants are enjoined from their unlawful conduct as alleged herein.

       35.    Plaintiff Ottis McCrary (“McCrary”) is an individual and resident of Stevenson,

Alabama. During the Class Period, McCrary indirectly purchased generic doxycycline

manufactured by the Defendants. He made the purchase of doxycycline in Alabama for his

personal use at its full retail price and was not reimbursed for his purchase, thereby suffering

injury to his property. During the Class Period, McCrary paid more for generic doxycycline than

he would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize

the prices and allocate markets and customers for doxycycline. As a result of the alleged

conspiracy, Plaintiff McCrary was injured by reason of the violations of law alleged herein.

McCrary intends to continue purchasing these drugs and will continue to be injured unless the

Defendants are enjoined from their unlawful conduct as alleged herein.

                                   V.      DEFENDANTS

       36.    Defendant Actavis is a Delaware corporation that has its administrative

headquarters in Parsippany-Troy Hills, New Jersey. In 2012, Watson Pharmaceuticals, Inc.

acquired then-Switzerland-based Actavis Group to form Actavis plc, a major supplier of generic

doxycycline.12 On March 17, 2015, Actavis plc completed its acquisition of Allergan in a cash

and equity transaction valued at approximately $70.5 billion. The merged Actavis-Allergan

entity was renamed “Allergan,” but its generic product lines were still marketed under the name

12
  http://allergan-web-cdn-
prod.azureedge.net/actavis/actavis/media/pdfdocuments/2013_us_rx_product_catalog.pdf.

                                              19
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“Actavis.” The following year, in August of 2016, Teva Pharmaceuticals USA, Inc. (“Teva”)

acquired the generic assets of Allergan, including doxycycline, for $40.5 billion. As part of this

acquisition, Allergan’s generic assets, including doxycycline, were assigned to Actavis, which

Teva acquired in its deal with Allergan. In connection with the regulatory approval of that deal,

the generic operations of Actavis plc (including its manufacture of generic doxycycline) were

transferred to Teva Pharmaceuticals U.S., Inc. (“Teva”) and are now being conducted by Teva’s

subsidiary, Defendant Actavis. Actavis Pharma, Inc. (“API”) is a U.S. subsidiary of Actavis.

During the Class Period, Actavis and API sold generic doxycycline products in this District and

other locations in the United States.

       37.       Defendant Heritage Pharmaceuticals, Inc. (“Heritage”) is a Delaware corporation

with its principal place of business in Eatontown, New Jersey. It is the exclusive United States

commercial operation for Emcure Pharmaceuticals Private Ltd., an Indian company

headquartered in Pune, India. During the Class Period, Heritage sold generic doxycycline to

customers in this District and other locations in the United States.

       38.       Defendant Impax is a Delaware corporation that has its principal place of business

in Hayward, California. As noted above, Impax’s generics division is called Global

Pharmaceuticals (“Global”) and is a manufacturer and distributor of generic digoxin. During the

Class Period, Global sold generic digoxin to customers in this District and other locations in the

United States.

       39.       Defendant Lannett is a Delaware corporation that has its principal place of

business in Philadelphia, Pennsylvania. Lannett is the exclusive distributor of generic digoxin

manufactured by Jerome Stevens Pharmaceuticals, Inc. (“JSP”), a New York corporation with its




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principal place of business in Bohemia, New York. During the Class Period, Lannett sold generic

digoxin to customers in this District and other locations in the United States.

       40.     Defendant Mayne is a Delaware corporation that has its principal place of

business in Raleigh, North Carolina. During the Class Period, Mayne sold generic doxycycline to

customers in this District and other locations in the United States.

       41.     Defendant Mylan is a West Virginia corporation with its principal place of

business in Morgantown, West Virginia. It is a subsidiary of Mylan Inc., a Pennsylvania

corporation with its principal place of business in Canonsburg, Pennsylvania. During the Class

Period, Mylan sold generic digoxin and generic doxycycline to customers in this District and

other locations in the United States.

       42.     Defendant Par is a New York corporation with its principal place of business in

Chestnut Ridge, New York. In January 2014, Par announced that it had entered into an exclusive

United States supply and distribution agreement with Covis Pharma S.à.r.l. (“Covis”) to

distribute the authorized generic version of Covis’s Lanoxin® (digoxin) tablets. At that time, Par

began selling and shipping digoxin in this country. Par also manufactures generic doxycycline.

During the Class Period, Par sold generic digoxin and generic doxycycline to customers in this

District and other locations in the United States.

       43.     Defendant Sun is a Michigan corporation with its principal place of business in

Cranbury, New Jersey. In late 2012, Sun acquired URL Pharma, Inc. (“URL”) with its principal

place of business in Philadelphia, PA. URL is a wholly-owned subsidiary of Sun. URL as a

group includes five wholly-owned subsidiaries, including Mutual Pharmaceutical Company, Inc.

In late 2012, Sun and its wholly-owned subsidiaries held approximately 19.9% of the market




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share of doxycycline in the United States. During the Class Period, Sun sold generic digoxin and

generic doxycycline to customers in this District and other locations in the United States.13

       44.     Defendant West-Ward Pharmaceuticals Corp. (“West-Ward”) is a Delaware

corporation with its principal place of business in Eatontown, New Jersey. West-Ward is the

United States agent and subsidiary of Hikma Pharmaceuticals PLC (“Hikma”), a London-based

global pharmaceutical company and is a manufacturer and distributor of generic digoxin. During

the Class Period, West-Ward sold generic digoxin and generic doxycycline to customers in this

District and other locations in the United States.

       45.     Defendant Glazer is a resident of Marlboro, New Jersey and served as CEO of

Heritage from 2005 until August 2016.

       46.     Defendant Malek is a resident of Ocean, New Jersey. He joined Heritage as

Director of its Sales Operations in 2008, became Senior Director of Commercial Operations in

2010, became a Vice-President in May 2011 and a Senior Vice-President in April 2013, and

from October 2015 until August 2016, served as its President.

       47.     Whenever reference is made in this Complaint to any act, deed or transaction of

any corporation, the allegation means that the corporation engaged in the act, deed or transaction

by or through its officers, directors, agents, employees or representatives while they were

actively engaged in the management, direction, control or transaction of the corporation’s

business or affairs.


13
   Digoxin supplied by Sun Pharmaceutical Industries, Inc. (“SPII”) was manufactured in the
Detroit facility of Sun’s subsidiary, Caraco Pharmaceutical Laboratories, Ltd. (“Caraco”), until
approximately June of 2014 when Caraco shut down its Detroit facility. See
http://www.crainsdetroit.com/article/20140502/NEWS/140509962/caraco-pharmaceutical-to-
lay-off-178-close-its-detroit-plant-this. Upon information and belief, Sun resumed production
and distribution of generic digoxin starting in the latter half of 2015.
http://www.sunpharma.com/node/119521.

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                                       VI.     CO-CONSPIRATORS

         48.          Various other persons, firms, corporations and entities have participated as

unnamed co-conspirators with Defendants in the violations and conspiracy alleged herein. In

order to engage in the violations alleged herein, these co-conspirators have performed acts and

made statements in furtherance of the antitrust violations and conspiracies alleged herein.

               VII.      INTERSTATE AND INTRSTATE TRADE AND COMMERCE

         49.          The business activities of Defendants that are the subject of this action were

within the flow of, and substantially affected, interstate trade and commerce.

         50.          During the Class Period, Defendants sold substantial quantities of generic digoxin

and/or generic doxycycline in a continuous and uninterrupted flow of interstate commerce to

customers throughout the United States.

         51.          Defendants’ anticompetitive conduct occurred in part in trade and commerce

within the states set forth herein, and also had substantial intrastate effects in, inter alia, retailers

within each state were foreclosed from offering less expensive generic digoxin and doxycycline

to Plaintiffs inside each respective state. The foreclosure of these less expensive generic products

directly impacted and disrupted commerce for Plaintiffs within each state, who were forced to

pay supracompetitive prices.

                                    VIII.    FACTUAL ALLEGATIONS

         A.           The Generic Drug Industry

         52.          Defendants manufacture and sell generic versions of branded drugs. According to

the United States Food & Drug Administration (“FDA”), a generic drug is “the same as a brand

name drug in dosage, safety, strength, how it is taken, quality, performance, and intended use.”14

Once the FDA approves a generic drug as “therapeutically equivalent” to a brand drug, the

14
     http://www.fda.gov/Drugs/InformationOnDrugs/ucm079436.htm#G.
                                                      23
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generic version “can be expected to have equal effect and no difference when substituted for the

brand name product.”15

       53.     Since passage of the Drug Price Competition and Patent Term Restoration Act of

1984, more commonly known as the “Hatch-Waxman Act” (Pub. L. No. 98-417, 98 Stat. 1585),

every state has adopted substitution laws requiring or permitting pharmacies to substitute generic

drug equivalents for branded drug prescriptions (unless the prescribing physician specifically

orders otherwise by writing “dispense as written” or similar language on the prescription).

       54.     According to a 2015 Generic Pharmaceutical Association (“GPhA”) report, 88%

of all prescriptions in the United States are filled with a generic drug.16 Data from IMS Health

depict the growing trend of filling prescriptions with generic drugs:




       55.     In 2015, generic drug sales in the United States were estimated at $74.5 billion.17

       56.     Generic drugs are supposed to be substantially less expensive than branded drugs.

According to a PowerPoint presentation given by Lannett’s CEO and CFO, the cost of generics



15
   Id.
16
   http://www.gphaonline.org/media/wysiwyg/PDF/GPhA_Savings_Report_2015.pdf.
17
   http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.
                                                24
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                                           18
is “[o]fteen 80-85% leess than the brand.”
                                   b          Th
                                               hus, generic competitionn for even a ssingle brandd drug

can prov
       vide potentiaally billions of dollars in
                                              n savings to consumers,, pharmaciess, and other drug

purchasers, as well as
                    a to privatee health insu
                                            urers, healthh and welfarre funds, annd state Meddicaid

programss that reimb
                   burse the cosst of drug purchases
                                           p         byy covered inndividuals. Inndeed, one study

found thaat the use off generic med
                                  dicines saved the Unitedd States heallthcare system
                                                                                    m $254 billiion in

2014 alo
       one, and $1.68 trillion between
                               b         05 and 20144.19 In a Jannuary 2012 report, the GAO
                                       200

noted thaat, “[o]n aveerage, the reetail price of a generic drug is 75 ppercent low
                                                                                  wer than the retail

                   me drug.”20
price of a brand-nam

       57.     As illu
                     ustrated in the following
                                             g chart, the pprice savinggs from geneeric drugs is even

greater when
        w    more geeneric drug manufacture
                                m         ers compete:




       58.     Thesee consumer welfare-enh
                                         hancing attribbutes of genneric drug ccompetition were

bolstered
        d by enactmeent of the Hatch-Waxm
                               H        man Act. Thee Act creates a piggybacck mechanissm to


18
   https:///www.sec.go
                     ov/Archives//edgar/data/5
                                             57725/0001 104659150114242/a15-
5445_1ex   x99d1.htm (slide 3).
19
   http://w
          www.gphaon  nline.org/meedia/wysiwy
                                            yg/PDF/GPhA A_Savings__Report_2015.pdf.
20
   http://w
          www.gao.go ov/assets/5900/588064.pdf.
                                                  25
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simplify the regulatory hurdles that generic drug manufacturers have to clear prior to marketing

and selling generic drugs. Instead of filing a lengthy and costly New Drug Application (“NDA”),

the Hatch-Waxman Act allows generic drug manufacturers to obtain FDA approval in an

expedited fashion through the filing of an Abbreviated New Drug Application (“ANDA”).

       59.     Through the ANDA process, the generic manufacturer attempts to show that its

product is bioequivalent to its branded counterpart, which is referred to as the “reference listed

drug” (“RLD”). As defined, an RLD is an “approved drug product to which new generic versions

are compared to show that they are bioequivalent,” that is, the generic version “performs in the

same manner as the Reference Listed Drug.”21 A drug company seeking approval to market a

generic equivalent must refer to the Reference Listed Drug in its Abbreviated New Drug

Application (ANDA).” Id. Once the FDA approves an ANDA, the generic firm may manufacture

and market the generic drug product to provide a safe, effective, low cost alternative to the

American public. Id.

       60.     In connection with the approval of a generic drug, the FDA will assign a

“Therapeutic Equivalence Code” (“TE Code”) which allows users to quickly determine

important information about the drug product in question.22 An “AB” rating signifies that the

approved generic product is therapeutically equivalent to its branded counterpart.23 An AB rating

is significant because under state generic drug substitution laws, pharmacists are permitted—and

in many cases, must—substitute the less expensive generic product for its branded counterpart.

This inures to the financial benefit of consumers and third-party payers.



21
   http://www.fda.gov/Drugs/InformationOnDrugs/ucm079436.htm#RLD.
22
   http://www.fda.gov/Drugs/DevelopmentApprovalProcess/ucm079068.htm#TEC.
23
   http://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequirements/
ElectronicSubmissions/DataStandardsManualmonographs/ucm071713.htm.
                                                26
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       B.      Current Pricing in the Generic Drug Industry

       61.     Although generic drugs are widely understood to be substantially less expensive

than their branded counterparts, for the drugs at issue here, that is no longer the case.

       62.     Prices for certain generic drugs, including digoxin and doxycycline, increased

dramatically from 2012. These substantial and unjustified price hikes have engendered extensive

scrutiny by the U.S. Congress. A chart compiled by Representative Elijah E. Cummings

(“Cummings”), Ranking Member of the House Committee on Oversight and Government

Reform, and Senator Bernie Sanders (“Sanders”), Chairman of the Subcommittee on Primary

Health and Aging of the Senate Committee on Health, Education, Labor and Pensions, reflects

the skyrocketing price hikes for various generic drugs, including digoxin and doxycycline:24




24
  http://www.sanders.senate.gov/download/face-sheet-on-generic-drug-price-
increases?inline=file.
                                                 27
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         63.   In a January 8, 2014 letter to members of key committees of the United States

House of Representatives and Senate, Douglas P. Hoey, Chief Executive Officer of the National

Community Pharmacists’ Association, asked Congress to conduct an investigation of generic

drug price increases.25 On October 2, 2014, Sanders and Cummings sent letters to Actavis,

Heritage (for whom Glazer and Malek worked—the letter was sent to Glazer),26 Lannett, Par,

Sun, Impax (via its generics division, Global), Mylan, and West-Ward (“October Letters”)

asking for detailed information on the generic digoxin and/or generic doxycycline price hikes,

among others.27

         64.   On November 20, 2014, Sanders’s committee held a hearing entitled “Why Are

Some Generic Drugs Skyrocketing In Price?” (“Senate Hearing”). Various witnesses discussed

the price hikes for generic drugs. Although Arthur Bedrosian (“Bedrosian”), the CEO of Lannett,

was invited to testify, neither he nor any other chief executive of a generic drug manufacturer did

so.28

         65.   This dramatic increase in generic drug prices results in decreased access for

patients. According to the National Community Pharmacists Association (“NCPA”), a 2013

member survey found that pharmacists across the country “have seen huge upswings in generic

drug prices that are hurting patients and pharmacies [sic] ability to operate” and “77% of

pharmacists reported 26 or more instances over the past six months of a large upswing in a

generic drug's acquisition price.” These price increases have a direct impact on patients’ ability


25
   See https://www.ncpanet.org/pdf/leg/jan14/letter-generic-spikes.pdf.
26
   http://www.sanders.senate.gov/download/letter-to-mr-glazer-president-and-chief-executive-
officer-heritage-pharmaceuticals-inc?inline=file.
27
   The October Letters may be found at http://www.sanders.senate.gov/newsroom/press-
releases/congress-investigating-why-generic-drug-prices-are-skyrocketing.
28
   See http://www.sanders.senate.gov/newsroom/press-releases/drugmakers-mum-on-huge-price-
hikes.
                                                28
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to purchase their needed medications. The NCPA survey found that “patients are declining their

medication due to increased co-pays….”29

       C.     Generic Digoxin Market

       66.    The market for generic digoxin is mature, and Defendants that operate in that

market can only gain market share by competing on price.

       67.    On September 30, 1993, GlaxoSmithKline (“GSK”) filed an NDA for the

approval of digoxin tablets, under the brand name Lanoxin. According to FDA’s Orange Book,

Lannett, Global (a division of Impax), West-Ward, Par, Mylan, and Caraco (a subsidiary of Sun)

have generic digoxin products that are AB-rated to the brand.

       68.    However, despite the fact that six generic manufacturers have AB-rated digoxin

products, mergers and withdrawals from the market caused the number of competitors to shrink.

For instance, West-Ward had to suspend operations for eight months beginning in November

2012 in the wake of an FDA investigation into the fact that its production of generic digoxin was

not in compliance with current Good Manufacturing Practices,30 while Caraco had to halt

production for nearly three years from June 200931 to August 2012.32

       69.    According to data from IMS Health, annual sales of digoxin in the United States

were approximately $44 million as of the beginning of 2014. Those sales numbers, however,

increased dramatically in 2014 and 2015, as explained below.




29
   http://www.ncpanet.org/newsroom/news-releases/2014/01/08/generic-drug-price-spikes-
demand-congressional-hearing-pharmacists-say.
30
   See http://www.fda.gov/ICECI/EnforcementActions/WarningLetters/2012/ucm291643.htm.
31
  See https://www.ihs.com/country-industry-forecasting.html?ID=106595376.
32
  See http://www.fiercepharma.com/pharma/sun-closing-caraco-plant-detroit-and-whacking-
nearly-180-jobs.
                                               29
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       D.      Generic Doxycycline Market

       70.     The market for generic doxycycline is mature and Defendants that operate in that

market can only gain market share by competing on price.

       71.     Pfizer Inc. (“Pfizer”) produces branded versions of doxycycline, including

Vibramycin®, a capsule form of doxycycline. Pfizer received FDA approval for Vibramycin on

December 5, 1967.

       72.     At one point there were over 20 manufacturers of generic doxycycline.33

However, over the past decade, the number of generic drug manufacturers producing

doxycycline has declined. As Sun said in its 2015 and 2016 investor presentations, doxycycline

is a “low competition product.”34

       73.     Defendants Heritage, Mayne, Mylan, Par, Sun, and West-Ward currently

manufacture and/or distribute generic doxycycline. Actavis plc had been another major supplier

of generic doxycycline.35 Major Pharmaceuticals and Teva discontinued producing doxycycline

in February 2013 and May 2013, respectively,36 and West-Ward discontinued one line of

doxycycline in or around July 2013.

       74.     This reduction in the number of generic manufacturers increased concentration in

the doxycycline market, facilitating price coordination and Defendants’ conspiracy to fix, raise,

maintain, and stabilize prices.




33
   https://vineyardgazette.com/news/2015/09/24/cost-doxycycline-skyrockets.
34
   Investor Presentation can be accessed at http://www.sunpharma.com/investors/annualreports.
35
   http://allergan-web-cdn-
prod.azureedge.net/actavis/actavis/media/pdfdocuments/2013_us_rx_product_catalog.pdf.
Actavis plc is a different entity from the Actavis entity named as a Defendant here.
36
   http://www.ashp.org/menu/DrugShortages/CurrentShortages/bulletin.aspx?id=977.
                                               30
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          75.    Total U.S. retail sales
                                   s     of all fo
                                                 orms of doxyycycline (booth monohyddrate and hycclate)

        w estimatted to be oveer $973 milliion.37
in 2013 were

          E.
          E      Generric Digoxin Price Increeases

          76.    Until the last few
                                  w years, gen
                                             neric digoxiin pricing w
                                                                    was remarkaably stable. That

stability is reflected in
                       i the follow
                                  wing chart su
                                              ubmitted by Dr. Stephenn Schondelm
                                                                               meyer, Directtor of

       ME Institute at the Colleege of Pharm
the PRIM                                   macy for thee Universityy of Minnesoota, as part oof his

        y at the Senaate Hearing:38
testimony




37
     http://w
            www.drugs.ccom/stats/do oxycycline.
38
     That teestimony is available
                        a         at http://www.h
                                     h          help.senate.ggov/imo/meddia/doc/Schoondelmeyer..pdf.
                                                  31
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The term
       ms “AWP” and
                a “WAC” in this charrt refer, resppectively, too “Average W
                                                                          Wholesale P
                                                                                    Price”

and “Wh
      holesale Accquisition Prrice.” Both prices are referred too by Dr. Scchondelmeyer as

benchmaark prices.39

          77.     Whilee this chart shows
                                    s     the staability of thee prices of ggeneric digoxin over an eight

year periiod, it refleccts only a po
                                   ortion of thee price hikess for genericc digoxin thhat then occuurred.

The October Letterss referenced
                              d above notted that priices for genneric digoxiin had increeased

dramatically between
                   n October 20
                              012 and Junee 2014 for thhe market as a whole:




These asstounding prrice increasees were caussed by suddden and abruupt pricing cchanges madde by

Lannett, West-Ward, Sun, and Impax
                             I     that were
                                        w    followeed by Par annd Mylan w
                                                                         when they enntered

the mark
       ket in 2014 and
                   a 2015, reespectively. Pricing for .125 mg andd .250 mg ttablets of diggoxin

increased
        d by roughly
                   y tenfold, fro
                                om $0.11 perr tablet in O
                                                        October 20122 to betweenn $1.06 and $$1.10

per tablett by June 2014.

          78.     Data from
                       f    the Naational Averrage Drug A
                                                        Acquisition C
                                                                    Cost (“NAD
                                                                             DAC”) on geeneric

digoxin show
        s    averag
                  ge price incrreases that leed to substaantially higher prices forr generic diggoxin

products for the .125
                    5 mg tablet dosage of generic
                                          g       digoxxin (sold byy Lannett, Im
                                                                               mpax, Par, W
                                                                                          West-

Ward, Su
       un and Mylaan) during the period from
                                           m October 22012 to April 2015.




39
     Id. at 15.
            1
                                                    32
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       79.     The following chart, based on NADAC data, shows the pricing of the .250 mg

tablet dosage of generic digoxin (made by Lannett, West-Ward, Sun, Impax, and Mylan) during

the period from October 2012 to mid-March 2015:




       80.     By way of further example, the striking jump in prices for Impax’s and Lannett’s

digoxin tablets can be seen in the following tables:




                                                33
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               WAC for Impax’s Digoxin (.125 mg tablets, 1 bottle, 100 pills)40
               Price                   Effective
               $14.21                  05/26/2010
               $118.50                 10/22/2013



               WAC for Lannett’s Digoxin (.125 mg tablets, 1 bottle, 100 pills)41
               Price                   Effective
               $14.21                  08/19/2002
               $17.45                  04/01/2009
               $118.50                 10/16/2013


         81.     As these tables show, WAC for Lannett’s .125 mg digoxin tablets increased only

22% over a period of nearly seven years. By contrast, recently, in a little over four years, prices

increased 579%. Impax’s digoxin tablets experienced a similarly large price increase, with

prices going from $14.21 per bottle in May 2010 to $118.50 per bottle in October 2013—an

increase of around 734% in a little over three years.

         82.     There were no reasonable competitive justifications for these abrupt shifts in

pricing conduct. To the contrary, anticompetitive activity explains these skyrocketing prices.

Richard Evans at Sector & Sovereign Research recently wrote: “[a] plausible explanation [for

price increases of generic drugs, including generic digoxin] is that generic manufacturers, having

fallen to near historic low levels of financial performance, are cooperating to raise the prices of




40
     Oppenheimer Equity Research, Lannett Company, Inc., at 2 (Feb. 7, 2014).
41
     Id.
                                                   34
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products whose characteristics – low sales due to either very low prices or very low volumes –

accommodate price inflation.”42

       83.     These enormous price increases were not due to supply disruptions. As stated at

the website of the Generics and Biosimilars Initiative on August 29, 2014, “[a]t the time of the

[digoxin] price increases, the U.S. Food and Drug Administration had reported no drug

shortages, there was no new patent or new formulation and digoxin is not difficult to make. The

companies have not yet provided an explanation for the price rise.”43 With regard to drug

shortages, federal law requires drug manufacturers to report potential shortages to the FDA, the

reasons therefor, and the expected duration of the shortage,44 but no supply disruption was

reported by the relevant Defendants with respect to digoxin in the fall of 2013.

       84.     The presence or absence of competitors in the marketplace also does not explain

the substantial price increases of generic digoxin. From October 2012 to around November 21,

2013, the NADAC average price of generic digoxin was consistently around $0.11 for the .125

mg tablets and between $0.11 and $0.12 for the .250 mg tablets, despite the fact that for a portion

of the period after West-Ward suspended production, Lannett and Impax were the only

significant players in the market. West-Ward’s return to the market in July 2013 also did not

affect pricing. Indeed, throughout 2012 and through September 2013, as Dr. Schondelmeyer’s

chart shows, the price of generic digoxin remained steady. Following the astronomical price

increases in the fall of 2013, Par entered the market in early 2015 and Mylan entered the market




42
   See http://blogs.wsj.com/pharmalot/2015/04/22/generic-drug-prices-keep-rising-but-is-a-
slowdown-coming.
43
   http://www.gabionline.net/Generics/General/Lawyers-look-at-new-price-hike-for-old-drug.
44
   See http://www.fda.gov/Drugs/DrugSafety/DrugShortages/ucm050796.htm#q.

                                                35
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in 2015, but prices did not fall even with the addition of new competitors. Pricing remains

inflated to this day.

        85.     The steep digoxin price hikes have had a catastrophic effect on consumers.

According to a December 2013 report:

                Bill Drilling, an owner of a pharmacy in Sioux City, Iowa,
                apologizes as he rings up a customer’s three-month supply of the
                heart medicine digoxin. The total is $113.12—almost 10 times the
                cost for the same prescription in August. Digoxin isn’t a new
                miracle drug. . . . “I’ve been doing this since 1985, and the only
                direction that generics-drug prices have gone is down,” Drilling
                says….

                                          *      *       *

                “This is starting to create hardship,” he says. Many of his
                customers fall into what is known as the Medicare “doughnut
                hole,” a coverage gap in which patients pay 47.5 percent of
                branded-drug costs and 79 percent of a generic’s price. Russ
                Clifford, a retired music teacher, learned digoxin’s cost had
                jumped more than fourfold when he picked up his 30-day supply in
                mid-November. Clifford and his wife have had to dip into savings
                to pay their rising pharmaceutical bills.45

        86.     These massive price increases adversely affected patients’ ability to purchase their

digoxin medications. An independent pharmacist described the hardship caused by the digoxin

price increases with this anecdote offered at the Senate Hearing:

                A recent example from my own experience is the price of
                Digoxin—a drug used to treat heart failure. The price of this
                medication jumped from about $15 for 90 days’ supply, to about
                $120 for 90 days’ supply. That’s an increase of 800%. One of my
                patients had to pay for this drug when he was in the Medicare Part
                D coverage gap in 2014. Last year, when in the coverage gap he
                paid the old price. This year he paid the new price. Needless to say,
                the patient was astounded, and thought I was overcharging him.




45
  See http://www.bloomberg.com/bw/articles/2013-12-12/generic-drug-prices-spike-in-
pharmaceutical-market-surprise.

                                                 36
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                 The patient called all around to try to get the medicine at the old,
                 lower price, but to no avail.46

         F.      Generic Doxycycline Price Increases

         87.     For generic doxycycline, the pattern of huge price increases started in the fall of

2012.

         88.     Dr. Schondelmeyer, in his testimony at the Senate Hearing, presented the

following chart showing the sudden increase in West-Ward’s AWP for generic doxycycline from

under $2.50 for a day of therapy to over $11 by January 2013:




         89.     Similarly, Sanders and Cummings noted huge increases in the price of generic

doxycycline in their October Letters:



46
     http://www.help.senate.gov/imo/media/doc/Frankil.pdf.
                                                 37
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       90.     The NADAC
                   N     daata for 50 mg
                                      m and 1000 mg of geeneric doxyycycline cappsules

manufacttured and/orr distributed
                                d by Defendaants Actaviss, West-Warrd, Sun, andd Mylan revveal a

similar pattern:




       91.     Set fo
                    orth below arre the NADA
                                           AC data for 75 mg and 1100 mg doxyycycline Delayed

Release DR
        D tablets (““doxycyclin
                              ne DR”):




                                              38
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          92.   These charts are offered as examples. As noted above, the price increases affected

a variety of dosages of doxycycline in both capsule and tablet form

          93.   There are no reasonable justifications for this abrupt and dramatic increase in

prices.




                                                39
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       94.     Input costs do not explain these price hikes. Sun reported in a May 28, 2012

earnings call that “[m]aterial cost, as a percentage of the net sales is 18.5% which is lower as

compared to the previous year.”47 Likewise, in a November 14, 2013 earnings call, Sun reported

that second quarter costs were “in-line with Q2 last year.”48 Hikma, the parent of West-Ward,

reported in 2013 that doxycycline sales reflected “exceptional profitability” and “generated

exceptionally strong cash flows.”49

       95.     These doxycycline price hikes caused extreme hardship to consumers. As

reported on WSMV-TV of Nashville’s website in March 2013:

               Many people may not recognize the name, but they have probably
               used it for a health problem at one point.

               Doctors use doxycycline to treat a wide range of issues, including
               everything from acne to Lyme disease, anthrax exposure and even
               heartworm in our pets.

               However, the once cheap and effective drug has now dramatically
               gone up in price, and that has health professionals concerned.

               Hospitals like Vanderbilt University Medical Center keep
               doxycycline in stock, but some folks worry the cure for their
               ailment could now be financially out of reach.

               “It's a change that occurred overnight,” said Vanderbilt pharmacy
               manager Michael O'Neil.

               Not long ago, the pharmacy at Vanderbilt's hospital could purchase
               a 50-count bottle of 100 mg doxycycline tablets for $10, but now
               the same bottle costs a staggering $250.

               “That's concerning to us, both as citizens and practitioners, when
               you see a huge increase like this in a price of a drug,” O'Neil said.

47
   http://www.sunpharma.com/Media/Press-
Releases/FY13%20Q4%20Earnings%20Call%20Transcript.pdf.
48
   http://www.sunpharma.com/Media/Press-
Releases/FY14%20Q2%20Earnings%20Call%20Transcript(1).pdf.
49

http://www.hikma.com/content/dam/hikma/corporate/investors/Financial%20docs/2013%20Inter
im%20results.pdf.downloadasset.pdf.
                                                40
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               Vanderbilt keeps thousands of doxycycline pills on hand in the
               event of a bioterrorist attack, like anthrax, and O'Neil said
               replacing expired pills is prohibitive.

               “This one is just hurting us when we need to replace the
               medication,” he said.

               But it's the most vulnerable who are in the most jeopardy. For a
               pet, a heartworm diagnosis can be a death sentence without
               doxycycline.

               Veterinarian Dr. Joshua Vaughn of the Columbia Hospital for
               Animals is already seeing the tragic results.

               "We had one patient who we diagnosed with heartworm. We
               recommended heartworm treatment, but when they saw the total
               dollar amount, they elected not to treat the dog at all,” Vaughn
               said.

               While manufacturers say they are having problems with raw
               supply, many in the medical community see greed as an overriding
               factor.

               Vaughn said he wrote a recent prescription for doxycycline that
               cost $77. This week, the price increased to nearly $3,000.50

       G.      Activities with Respect to the Generic Doxycycline Conspiracy

       96.     Defendants’ sudden and massive price increases represented a sharp departure

from the previous years of low and stable prices.

       97.     Heritage began selling doxycycline DR on July 2, 2013. At the time, Mylan was

the only competitor for doxycycline DR. Even before entering the market, Heritage contacted

Mylan about refraining from price competition. Commencing on or about May 2, 2013, Malek of

Heritage contacted one of the individuals in charge of National Accounts at Mylan and

commenced a series of telephonic communications in which agreements on pricing of

doxycycline were discussed. Beginning on May 8, 2013, Glazer of Heritage commenced similar



50
 http://www.wsmv.com/story/21616095/sudden-increase-in-cost-of-common-drug-concerns-
many.
                                               41
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discussions with another Mylan executive. These Defendants reached an agreement to allocate

market share and refrain from competing with one another for customers in the market for

doxycycline. The objective was to avoid a price war which would reduce profitability for both

companies. Mylan agreed to walk away from at least one large national wholesaler and one large

pharmacy chain to allow Heritage to obtain the business and increase its market share.

       98.     In February 2014, Mayne entered the market for doxycycline. The month before it

did so, on or about January 7, its representatives had telephonic discussions with representatives

of Heritage on allocating customers and thereby dividing market share. After its entry, Mayne

initially avoided competing for business with customers of Heritage and instead targeted

customers of Mylan. In one instance, Mayne made a bid to a large wholesaler where Mylan was

the incumbent provider and the wholesaler asked Heritage to also submit a bid. Heritage

declined, honoring its on-going agreement with Mylan, and provided a false, pretextual reason

(inadequate supply) to the wholesaler.

       99.     In March 2014, Mayne presented a bid to one of Heritage’s nationwide pharmacy

accounts. This led to telephonic, e-mail and texted discussions between representatives of Mayne

and Heritage over the next several months. In November of 2014, Mayne made offers to the One

Stop Program of McKesson Corporation (“McKesson”) (a wholesaler) and Econdisc Contracting

Solutions (“Econdisc”) (a group purchasing organization (“GPO”) that includes Express Scripts,

Kroger, and Supervalu). Malek contacted personnel at Mayne to discuss the situation and raised

the idea that Heritage and Mayne could allocate customers by having Mayne withdraw its offer

to McKesson. Malek worked out an agreement with Mayne by November 25, 2014, which

Glazer subsequently confirmed. Follow up communications occurred in December 2014 by text




                                               42
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messaging and an in-person meeting at a conference of the American Society of Health-System

Pharmacists held on December 9, 2014.

         100.   The agreement resulted in elimination of price competition and higher prices for

doxycycline. When Econdisc put its business out for bid again in January 2015, Heritage

deliberately bid a higher price than Mayne, fulfilling its agreement to walk away from the

Econdisc business. Likewise, when Heritage was requested to submit a bid by a large nationwide

pharmacy chain in September 2015, it declined to do so after learning that Mayne was the

incumbent supplier.

         101.   Glazer, Malek, Heritage and Mayne knew they were acting unlawfully and

endeavored to conceal their conduct. Glazer repeatedly advised Malek to destroy incriminating

e-mails and not to put incriminating evidence in writing and gave similar admonitions to

Heritage’s sales team. Glazer, Malek and Heritage salespersons also deleted incriminating texts

from their office iPhones, and a Mayne executive deleted incriminating texts from her cell phone

before the data on it were imaged and produced to the Connecticut Attorney General.

         H.     Defendants’ Opportunities to Conspire on Both Doxycycline and Digoxin

         102.   In order to be successful, collusive agreements require a level of trust among the

conspirators. While this can be accomplished by one-on-one communications, collaboration is

also fostered through industry associations, which facilitate relationships between individuals

who would otherwise be predisposed to compete vigorously with each other.

         103.   As alleged by the state AGs, “the defendants routinely coordinated their schemes

through direct interaction with their competitors at industry trade shows, customer conferences

and other events . . . .”51



51
     http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.
                                                43
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       104.   For instance, Defendants met at conferences held by their customers, such as

wholesalers or distributors (McKesson, AmeriSource Bergen Corporation, Cardinal Health, Inc.,

H.D. Smith, LLC, and Morris & Dickson, LLC), GPOs (Econdisc, Vizient, Premier, Inc.,

Intalere, and Minnesota Multistate Contracting Alliance for Pharmacy), and retailers (such as

Rite Aid Corporation, the Walgreen Company, Wal-Mart Stores, Inc., Target Corporation, and

Publix Super Markets, Inc.).

       105.   Defendants also met through trade associations, including the GPhA, which

describes itself as “the nation’s leading trade association for manufacturers and distributors of

generic prescription drugs, manufacturers of bulk active pharmaceutical chemicals, and suppliers

of other goods and services to the generic industry.”52 Current “Regular Members” of the GPhA

include Defendants Impax, Mylan, Par, Sun, and West-Ward. Regular Members “are

corporations, partnerships or other legal entities whose primary U.S. business derives the

majority of its revenues from sales of (1) finished dose drugs approved via ANDAs; (2) products

sold as authorized generic drugs; (3) biosimilar/biogeneric products; or (4) DESI products.”53

Several of Defendants’ high-ranking officers serve on GPhA’s Board of Directors, including

Mylan’s Heather Bresch, Impax’s Marcy MacDonald, Par’s Tony Pera, and Sun’s Jim

Kedrowski. Ms. Bresch serves as the GPhA’s current Chairperson.

       106.   Representatives from Defendants attended periodic meetings held by GPhA.54

The following table lists some of the GPhA meetings attended by Defendants’ employees:



52
   http://www.gphaonline.org/about/the-gpha-association.
53
   http://www.gphaonline.org/about/membership.
54
   See http://www.gphaonline.org/index.php/events/2013-annual-meeting-past-attendees;
http://www.gphaonline.org/index.php/events/2014-annual-meeting-past-meeting-attendees;
http://www.gphaonline.org/events/past-events/2012-gpha-fda-fall-technical-conference;
http://www.gphaonline.org/events/past-events/gpha-2013-fall-technical-conference.
                                               44
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                                    Meeting Date &
          Meeting                                                        Attendees
                                        Location

2012 GPhA Annual Meeting        February 22-24, 2012       Watson (Actavis), Mylan, Par
Business Exposition             Orlando, Florida

2012 GPhA Fall Technical        October 1-3, 2012          Actavis, Impax, Lannett, Mylan,
Conference                                                 Par, Sun
                                Bethesda, Maryland

2013 GPhA Annual Meeting        February 20-22, 2013       Actavis, Impax, Mylan, Par
                                Orlando, Florida

2013 GPhA Fall Technical        October 28-30, 2013        Actavis, Impax, Lannett, Mylan,
Conference                                                 Par, Sun
                                Bethesda, Maryland

2014 GPhA Annual Meeting        February 19-21, 2014       Actavis, Impax, Mylan, Par, Sun
                                Orlando, Florida

2014 GPhA Fall Technical        October 27-29, 2014        Actavis , Impax, Lannett, Mylan,
Conference                                                 Par, Sun, West-Ward
                                Bethesda, Maryland

2015 GPhA CMC Workshop          June 9-10, 2015            Actavis , Impax, Lannett, Mylan,
                                                           Par, Sun, West-Ward
                                Bethesda, Maryland

       107.   They also met at industry trade shows such as those hosted by the GPhA, the

National Association of Chain Drug Stores (“NACDS”), The Healthcare Distribution Alliance,

the Efficient Collaborative Retail Marketing (“ECRM”), and the American Society of Health-

System Pharmacists.

       108.   In addition, there were numerous private industry dinners of high-level executives

of generic pharmaceutical manufacturers. For instance, there was a January 2014 dinner attended

by 13 high-ranking executives from a number of manufacturers, including Defendants. And

there were regular meetings and dinners attended by female generic pharmaceutical sales

representatives that were known as “Girls Night Out” (“GNOs”) or “Women In Industry” events.

They were often held in connection with industry conferences. As described in paragraph 57 of

                                              45
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the AG Complaint, Defendants’ representatives used these meetings to “meet with their

competitors and discuss competitively sensitive information.” In addition, there were events in

connection with an ECRM conference in February 2015, a meeting in Baltimore in May 2015,

and the NACDS conference held in August 2015.

       109.    Thus, Defendants’ representatives had numerous opportunities to meet and

conspire at trade association meetings, as well as at industry healthcare meetings.

       I.      Defendants’ Own Acknowledgments of Lack of Generic Drug Competition

       110.    The collusion relating to generic drugs (including digoxin and doxycycline) was

also reflected in Lannett’s, Impax’s, Hikma’s and Sun’s own statements—in documents and in

oral remarks at earnings calls.

       111.    In a fourth quarter 2013 earnings call that occurred on September 10, 2013,

Bedrosian announced Lannett’s intention to increase prices and his expectations that his

competitors would follow suit. Discussing the role of Lannett’s Vice-President of Sales, Kevin

Smith (one of the persons apparently subpoenaed by DOJ), Bedrosian said:

               We’re not a price follower. We tend to be a price leader on price
               increasing and the credit goes to my sales vice president. He
               [Smith] takes an aggressive stance towards raising prices. He
               understands one of his goals, his objectives as a sales vice
               president is to increase profit margins for the company. And he’s
               the first step in that process….I am finding a climate out there
               has been changed dramatically and I see more price increases
               coming from our competing—competitors than I’ve seen in the
               past. And we’re going to continue to lead. We have more price
               increases planned for this year within our budget. And
               hopefully, our competitors follow suit. (Emphasis added.)

       112.    In a subsequent earnings call, Bedrosian reported that Lannett’s chief competitor

had indeed heeded his call for price increases. In an earnings call on November 7, 2013—after

the initial generic digoxin price increases—Bedrosian noted, referring to Impax, that “[w]e’ve

had a recent price increase on the [generic digoxin] product as well because we are now

                                                46
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only 1 of 2 people in the market. And as a result, I expect that product to do very well.”

(Emphasis added).

          113.   The very next quarter, Bedrosian expressed complacency about Par entering as a

new competitor: “And we see Par as one of our rational competitors in the marketplace.” As he

went on to note, “we’re not troubled by their pricing in the marketplace. Not at all.”

          114.   In a quarterly earnings call held on November 3, 2014, Bedrosian again expressed

confidence that Lannett would not have to engage in price competition generally in the generic

drug market. He said Lannett and its competitors were “less concerned about grabbing market

share. We’re all interested in making a profit, not how many units we sell.” Bedrosian went on to

discuss, inter alia, Par and Impax, saying: “[T]he companies we’re looking at here are not

irrational players. I don’t see them just going out and trying to grab market share.”

(Emphasis added.) He also noted that Mylan was expected to enter the market, “but Mylan is

one of those rational competitors, so we’re not really expecting anything crazy from them.”

(Emphasis added.) He predicted that price increases would continue. But there is nothing

“rational” in expecting new market entrants to eschew price competition and disavow market

share.

          115.   On February 4, 2015, in another quarterly earnings call, Bedrosian confirmed

there would be a moratorium on price competition. He stated: “I think you’re going to find

more capital pricing [in the generic marketplace], more—I’ll say less competition, in a

sense. You won’t have price wars.” (Emphasis added.) In his view, “I just don’t see the prices

eroding like they did in the past.”

          116.   In competitive markets, when new competitors enter the market, it tends to lead to

increased competition and lower prices. This is the “rational” or expected result and is well



                                                 47
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documented in the generic drug industry. Lannett’s expectation that Impax, Par and Mylan,

among others, would behave in exactly the opposite way suggests an agreement among them not

to compete on price. Their subsequent conduct – raising prices, electing not to increase market

share – further suggests the existence of such an agreement.

          117.   Bedrosian has also been quoted as saying that “[s]o whenever people start

acting responsibly and raise prices as opposed to the typical spiral down of generic drug

prices, I’m grateful. Because Lannett tends to be active in raising prices.”55 (Emphasis

added.) He referred to sending a “thank you note” to one of his “rational” competitors.56

          118.   Frederick Wilkinson, the CEO of Impax, also spoke to this topic in a third quarter

2014 earnings call: “[W]e’ve done what most of the other generic competitors have done, we

look at opportunities, we look at how competition shifts, we look at where there may be some

market movement that will allow us to take advantages on price increases and we’ve

implemented those….” Likewise, during a November 4, 2013 earnings call, former Impax

President Carole Ben-Maimon, when asked about her company’s “huge price increase on

digoxin following Lannett’s pricing action,” responded that “[t]he price increase for dig[oxin]

speaks for itself….” In a February 20, 2014 earnings call, she stated that “the market has been

pretty stable enough . . . . We’re pretty comfortable that what we’ve done is rational and will

result in ongoing profitability for that product.” (Emphasis added.)

          119.   Likewise, Said Darwazah, CEO of Hikma (West-Ward’s parent) told Bloomberg

Business in December 2013 that West-Ward’s huge increases in doxycycline prices were




55
     http://www.valuewalk.com/2017/01/lannett-lci-citron-research/.
56
     Id.
                                                 48
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justified because it was “‘forced’ to raise prices because its competitors raised theirs.”57 This

assertion only confirms Bedrosian’s statement that his generic drug competitors were no longer

interested in competing on price.

       J.      Defendants’ Concerted Efforts to Increase Prices for Generic Digoxin and
               Doxycycline Yielded Supracompetitive Profits

       120.    This meeting of the minds among the competing sellers of generic digoxin and

generic doxycycline assured them handsome profits. Bedrosian noted in the February 4, 2015

earnings call that Lannett “recorded the highest net sales and net income in our company’s

history.” Gross profits in the first six months of the 2015 fiscal year were $158.8 million or 76%

of net sales, compared with $42.3 million or 37% of net sales during the previous fiscal year.

Generic digoxin accounted for 23% of the company’s revenues, and Lannett has acknowledged

that it is highly dependent on price increases for revenue growth.

       121.    Similarly, according to its 2015 SEC Form 10-K filed on February 26, 2015,

Impax’s 2014 revenues were $596 million, compared to $511 million in 2013—a 17% increase.

One of the primary factors in this growth was “higher sales of our Digoxin.”58

       122.    Likewise, Hikma, West-Ward’s parent, said in a March 2014 press release that its

generic drug revenues increased by 158%, “reflecting very strong doxycycline sales.”59 And Sun

reported in 2013 that price increases earlier in the year yielded “$60-80 million (of $128 million




57
   http://www.bloomberg.com/bw/articles/2013-12-12/generic-drug-prices-spike-in-
pharmaceutical-market-surprise.
58
   http://d1lge852tjjqow.cloudfront.net/CIK-0001003642/c545ab21-aa3d-4426-a0b9-
ba4373b6c213.pdf?noexit=true.
59
   http://www.hikma.com/en/investors/results-reports-and-presentations.all.year2014.html.
                                                49
      Case 2:16-md-02724-CMR Document 126 Filed 01/27/17 Page 53 of 132




in total revenue…) to come from [doxycycline], with operating margins in the range of 50-

55%.”60

       123.   Defendants’ agreement to inflate the prices of generic drugs led to increased

revenue and higher profits – which was a motive for the conspiracy. In addition, the burgeoning

profits of the illegal scheme drove company share prices higher, which provided further motive

to conspire. For example, Lannett’s stock price in October 2012 was under $5. But by April

2015, Lannett’s share price had skyrocketed to more than $70, fueled by the inflated profits from

generic drugs. Bedrosian, the Lannett CEO, owned more than 600,000 shares of stock during

this time frame, the value of which increased by tens of millions of dollars. Other Defendants’

stock prices also exploded with the profits of their price-fixing scheme. For example, the share

prices of Mylan, Hikma and Sun approximately tripled between October 2012 and mid-2015.

       K.     Congress’s and Regulators’ Responses to Generic Drug Price Hikes

       124.   As noted above, the unprecedented price increases and exorbitant profits made by

the generic drug manufacturers led to inquiries by Congress and to the Senate Hearing, where

numerous witnesses referenced the pricing history summarized above.

       125.   Sanders and Cummings followed up on the Senate Hearing by writing a letter on

February 24, 2015 to the Office of the Inspector General (“OIG”) of the Department of Health &

Human Services, asking it to investigate the effect that price increases of generic drugs,

including generic digoxin and doxycycline, have had on generic drug spending within the

Medicare and Medicaid programs.61 The OIG responded in a letter dated April 13, 2015, saying




60
   http://www.business-standard.com/article/markets/sun-pharma-s-prospects-remain-bright-
113091200894_1.html.
61
   http://www.sanders.senate.gov/download/sanders-cummings-letter?inline=file.
                                               50
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it planned to engage in a review of quarterly average manufacturer prices for the 200 top generic

drugs from 2005 through 2014.62

       126.    In the summer of 2014, Connecticut AG Jepsen issued subpoenas to Defendants

Lannett, Impax, Heritage and Par, specifically saying that there was “reason to believe” that a

conspiracy took place “which is for the purpose, or has the effect of, (a) fixing, controlling or

maintaining prices, rates, quotations, or fees; or (b) allocating or dividing customers or territories

. . . .” And, in December 2016, the Connecticut AG and 19 other state AGs filed a complaint

asserting price-fixing and customer allocation claims with respect to, inter alia, doxycycline, and

named as defendants many of the entities named as Defendants in this Complaint.

       127.    In addition, DOJ has filed criminal Informations against Glazer and Malek, two

former officers of Defendant Heritage, for conspiring to allocate customers, rig bids, and fix

prices for doxycycline. They pled guilty to those charges on January 9, 2017.

       128.    Lannett, Impax, Par, Mayne, Sun, Actavis, and Mylan each have acknowledged in

their SEC filings that they or their employees have received subpoenas from the federal grand

jury empaneled in the Eastern District of Pennsylvania and/or from the Connecticut AG. In an

SEC Form 10-Q dated February 6, 2015, Lannett said that on November 3, 2014, “the Senior

Vice-President of Sales and Marketing [Kevin Smith] was served with a grand jury subpoena

relating to a federal investigation of the generic pharmaceutical industry into possible violations

of the Sherman Act.”63 The responses to that subpoena led to the issuance of a second grand jury

subpoena to Lannett itself. It noted in the same SEC filing that on December 5, 2014, “[t]he

Company was served with a grand jury subpoena related to the federal investigation of the

62
  http://www.sanders.senate.gov/download/oig-letter-to-sen-sanders-4-13-2015?inline=file.
63
  See http://app.quotemedia.com/data/downloadFiling?webmasterId=101533&ref=10044800&
type=HTML&symbol=LCI&companyName=Lannett+Co.+Inc.&formType=10-
Q&dateFiled=2015-02-06.

                                                 51
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generic pharmaceutical industry into possible violations of the Sherman Act. The subpoena

requests corporate documents from the Company relating to corporate, financial, and employee

information, communications or correspondence with competitors regarding the sale of generic

prescription medications, and the marketing, sale, or pricing of certain products.” A report in

Pharmacy Times described the subpoenas as follows:

                The Lannett Company, Inc. subpoena covers 2 specific areas
                related to antitrust laws and generic drug pricing. The first portion
                covers a Connecticut Attorney General investigation into whether
                the company or its employees engaged in price fixing, maintaining,
                or controlling for digoxin. The second portion serves the
                company’s senior vice president of sales and marketing with a
                grand jury subpoena pertaining to Sherman antitrust act violations
                in the generic drug industry. That subpoena requests any
                documents exchanged with competitors related to the sale of any
                generic prescription medications during any time period.64

Similar statements are contained in Lannett’s recent SEC Form 10-Qs.65

         129.   On August 27, 2015, Lannett issued a new SEC Form 10-K. It contains this

further explanation of the DOJ investigation:

                In fiscal year 2015, the Company and certain affiliated individuals
                each were served with a grand jury subpoena relating to a federal
                investigation of the generic pharmaceutical industry into possible
                violations of the Sherman Act. The subpoenas request corporate
                documents of the Company relating to corporate, financial, and
                employee information, communications or correspondence with
                competitors regarding the sale of generic prescription medications,
                and the marketing, sale, or pricing of certain products, generally
                for the period of 2005 through the dates of the subpoenas.66




64
   http://www.pharmacytimes.com/publications/issue/2014/December2014/Senate-Hearing-
Investigates-Generic-Drug-Prices.
65
   E.g.,http://www.sec.gov/Archives/edgar/data/57725/000110465916094983/a15-24119
_110q.htm.
66
     http://www.sec.gov/Archives/edgar/data/57725/000110465915062047/a15-13005_110k.htm.
                                                 52
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Similar statements are contained in Lannett’s Form 10-Q, referenced above. Thus, Lannett has

now indicated that the DOJ has caused subpoenas to be issued to a number of “affiliated

individuals” and that the scope of the investigation extends back a decade.

       130.    Similarly, in an SEC Form 10-K dated March 12, 2015, Par stated that “[o]n

December 5, 2014, we received a subpoena from the Antitrust Division of the DOJ requesting

documents related to communications with competitors regarding our authorized generic version

of Covis’s Lanoxin (digoxin) oral tablets and our generic doxycycline products.”67 Par repeated

this disclosure in its Form 10-Q issued for the second quarter of 2015.68 In a Form 10-Q for the

third quarter of 2015, Endo International plc, the parent company of Par, stated that “[o]n

December 5, 2014, the Company’s subsidiary, Par, received a Subpoena to Testify Before Grand

Jury from the Antitrust Division of the DOJ and issued by the U.S. District Court for the Eastern

District of Pennsylvania. The subpoena requests documents and information focused primarily

on product and pricing information relating to Par’s authorized generic version of Lanoxin

(digoxin) oral tablets and Par’s generic doxycycline products, and on communications with

competitors and others regarding those products. Par is cooperating fully with the

investigation.”69

       131.    Impax’s 2015 Form 10-K states that “[o]n November 6, 2014, the company

disclosed that one of its sales representatives received a grand jury subpoena from the Antitrust

Division of the United States Justice Department. In connection with this same investigation, on

67
   https://www.sec.gov/Archives/edgar/data/878088/000087808815000002/prx-
20141231x10k.htm.
68
   https://www.sec.gov/Archives/edgar/data/878088/000087808815000010/prx-
20150630x10q.htm.
69
   http://phx.corporate-ir.net/phoenix.zhtml?c=123046&p=irol-
SECText&TEXT=aHR0cDovL2FwaS50ZW5rd2l6YXJkLmNvbS9maWxpbmcueG1sP2lwYWd
lPTEwNTY2NjAwJkRTRVE9MCZTRVE9MCZTUURFU0M9U0VDVElPTl9FTlRJUkUmc3V
ic2lkPTU3.
                                               53
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March 13, 2015, the Company received a grand jury subpoena from the Justice Department

requesting the production of information and documents regarding the sales, marking, and

pricing of certain generic prescription medications. In particular, the Justice Department’s
                                                                                 70
investigation currently focuses on four generic mediations: digoxin tablets….”        This assertion

was repeated in Impax’s Form 10-Q filed in May 201571 and August 201572, and reconfirmed in

its Form 10-K filed on February 22, 2016.73

       132.   On August 6, 2015, Allergan (now part of Actavis) filed an SEC Form 10-Q, in

which it disclosed that “[o]n June 25, 2015, [Actavis] received a subpoena from the U.S.

Department of Justice (‘DOJ’), Antitrust Division seeking information relating to the marketing

and pricing of certain of the Company’s generic products and communications with competitors

about such products.”74

       133.   On December 4, 2015, Mylan N.V., the parent of Defendant Mylan, issued an

SEC Form 8-K that stated, “On December 3, 2015, a subsidiary of Mylan N.V. … received a

subpoena from the Antitrust Division of the U.S. Department of Justice … seeking information

relating to the marketing, pricing and sale of our generic Doxycycline products and any

communications with competitors about such products.”75 Regulatory investigations of Mylan

are not limited to doxycycline, however. In its SEC Form 10-K filed on February 16, 2016,

70
   http://investors.impaxlabs.com/Investor-Relations/SEC-Filings/SEC-Filing-
Details/default.aspx?FilingId=11200867.
71
   http://investors.impaxlabs.com/Investor-Relations/SEC-Filings/SEC-Filing-
Details/default.aspx?FilingId=10690183.
72
   http://investors.impaxlabs.com/Investor-Relations/SEC-Filings/SEC-Filing-
Details/default.aspx?FilingId=10854400.
73
   http://investors.impaxlabs.com/Investor-Relations/SEC-Filings/SEC-Filing-
Details/default.aspx?FilingId=11200867.
74
   https://www.sec.gov/Archives/edgar/data/1578845/000156459015006357/agn-
10q_20150630.htm.
75
   http://www.sec.gov/Archives/edgar/data/1623613/000119312515394875/d225442d8k.htm.
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Mylan N.V. reported that “[o]n December 21, 2015, the Company received a subpoena and

interrogatories from the Connecticut Office of the Attorney General seeking information relating

to the marketing, pricing and sale of certain of the Company’s generic products (including

Doxycycline) and communications with competitors about such products.”76 The activities of

Mylan identified in the AG Complaint have been discussed above.

       134.   On May 28, 2016, Sun Pharmaceutical Industries, Ltd. (the parent of Defendant

Sun) stated in a filing with the National Stock Exchange of India that “one of the Company’s

U.S. subsidiaries, Sun Pharmaceutical Industries, Inc. (‘SPII’) has received a grand jury

subpoena from the United States Department of Justice, Antitrust Division seeking documents

from SPII and its affiliates relating to corporate and employee records, generic pharmaceutical

products and pricing, communications with competitors and others regarding the sale of generic

pharmaceutical products, and certain other related matters. SPII is currently responding to the

subpoena.”77 As noted above. Sun is a manufacturer and/or distributor of both generic digoxin

and generic doxycycline.

       135.   On November 4, 2016, Mayne Pharma Group Limited (the parent of Defendant

Mayne) issued a press release stating: “Previously on 28 June 2016, Mayne Pharma Group

Limited disclosed that it was one of several generic companies to receive a subpoena from the

Antitrust Division of the US Department of Justice (DOJ) seeking information relating to the

marketing, pricing and sales of select generic products. The investigation relating to Mayne




76
   http://files.shareholder.com/downloads/ABEA-2LQZGT/146191293x0xS1623613-16-
46/1623613/filing.pdf.
77
   See
http://www.bseindia.com/corporates/ann.aspx?curpg=81&annflag=1&dt=&dur=A&dtto=&cat=
&scrip=524715&anntype=C, at May 28, 2016.
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Pharma is focused on doxycycline delayed-release tablets (generic) and potassium chloride

powders.”78 The activities of Mayne identified in the AG Complaint have been discussed above.

         136.   The fact that these companies and/or their employees received subpoenas from a

federal grand jury is significant, as is reflected in Chapter 3 of the 2014 edition of the DOJ’s

Antitrust Division Manual, last updated in May 2016.79 Section F.1 of that chapter notes that

“staff should consider carefully the likelihood that, if a grand jury investigation developed

evidence confirming the alleged anticompetitive conduct, the Division would proceed with a

criminal prosecution.” Id. at III-82. The staff request needs to be approved by the relevant field

chief and is then sent to the Antitrust Criminal Enforcement Division. Id. “The DAAG [Deputy

Assistant Attorney General] for Operations, the Criminal DAAG, and the Director of Criminal

Enforcement will make a recommendation to the Assistant Attorney General. If approved by the

Assistant Attorney General, letters of authority are issued for all attorneys who will participate in

the grand jury investigation.” Id. at III-83. “The investigation should be conducted by a grand

jury in a judicial district where venue lies for the offense, such as a district from or to which

price-fixed sales were made or where conspiratorial communications occurred.” Id.

         137.   Commentators have also taken note of the criminal subpoenas being issued. As

noted on one legal website:

                The Justice Department’s subpoenas focus on sharing and
                exchanging of pricing information and other issues among generic
                drug companies. The initial subpoenas, including two senior
                executives, suggest that the Justice Department has specific
                information relating to their participation in potentially criminal
                conduct. It is rare for the Justice Department to open a criminal
                investigation with specific subpoenas for individuals, along with
                company-focused subpoenas.


78
     http://asxcomnewspdfs.fairfaxmedia.com.au/2016/11/04/01798874-137879061.pdf.
79
     http://www.justice.gov/atr/public/divisionmanual/chapter3.pdf.
                                                 56
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                 Given the breadth of such a potential cartel investigation, the
                 Justice Department’s inquiry of the generic pharmaceutical
                 industry could be significant. The prices for a large number of
                 generic drug prices have increased significantly over the last year.
                 There does not appear to be any rational explanation for such
                 increases involving a diverse set of products.

                 The scope of these price increases and the timing of them certainly
                 raise serious concerns about collusive activity among
                 competitors.80

         138.    Or, as Mark Rosman, former assistant chief of the National Criminal Enforcement

Section of DOJ’s Antitrust Division, noted in an article on the “unusual” nature of the criminal

subpoenas, “A DOJ investigation into the alleged exchange of pricing information in the

pharmaceutical industry likely indicates that the agency anticipates uncovering criminal antitrust

conduct in the form of price-fixing or customer allocation.”81

         139.    And, as another legal commentator has recently noted,

                 The recent disclosure widens the DOJ’s criminal probe into
                 whether or not leading generic drug providers are colluding to
                 artificially raise generic drug prices. According to data from the
                 Centers for Medicare and Medicaid Services (CMS), more than
                 half of all generic drug prices rose between June 2013 and June
                 2014, including 10 percent of all generic drugs doubling in price
                 during that time. As the fourth largest generics producer in the
                 world, at least prior to the Teva deal, Allergan is largest company
                 to be involved in the DOJ investigation so far. The probe became
                 public last November when Impax was served with several
                 criminal grand jury subpoenas. Lannett announced in a regulatory
                 filing earlier in the year that the company, as well as its senior
                 vice-president of sales and marketing, was being served with grand
                 jury subpoenas as well. Like Lannett, Allergan wrote that it intends
                 to fully cooperate with the investigation. Neither the DOJ, nor the
                 company would comment further on the investigation beyond the
                 filings. While Allergan made no mention of the medicines
                 involved in the suspected collusion, filings from other companies




80
     http://www.jdsupra.com/legalnews/criminal-global-cartel-focus-on-generic-92387/.
81
     https://www.wsgr.com/publications/PDFSearch/rosman-1114.pdf.
                                                 57
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                 indicate that the heart drug digoxin and the antibiotic doxycycline
                 are among those under investigation.82

          140.   Also of significance is the reported leniency applicant who has sought amnesty

from       the    DOJ.      As      explained      on     one     of     the     DOJ’s    webpages

(https://www.justice.gov/atr/page/file/926521/download):

                 5. Does a leniency applicant have to admit to a criminal
                 violation of the antitrust laws before receiving a conditional
                 leniency letter?

                 Yes. The Division’s leniency policies were established for
                 corporations and individuals “reporting their illegal antitrust
                 activity,” and the policies protect leniency recipients from criminal
                 conviction. Thus, the applicant must admit its participation in a
                 criminal antitrust violation involving price fixing, bid rigging,
                 capacity restriction, or allocation of markets, customers, or sales or
                 production volumes, before it will receive a conditional leniency
                 letter. Applicants that have not engaged in criminal violations of
                 the antitrust laws have no need to receive leniency protection from
                 a criminal violation and will not qualify for leniency through the
                 Leniency Program.

As indicated on the webpage, the leniency applicant must also establish that “[t]he confession of

wrongdoing is truly a corporate act, as opposed to isolated confessions of individual executives

or officials.”

          141.   In addition to the issuance of subpoenas by both the federal grand jury and the

Connecticut AG, the acknowledgment of participation in unlawful conduct by the leniency

applicant and the January 9, 2017 criminal guilty pleas by Defendants Glazer and Malek further

confirm the existence of a conspiracy among Defendants to fix prices.

          L.     Factors Increasing the Market’s Susceptibility to Collusion

          142.   Publicly available data on the generic digoxin and doxycycline markets in the

United States demonstrate that it is susceptible to cartelization by Defendants. Factors that make


82
     http://www.legalreader.com/doj-subpoenas-allergan-as-generics-antitrust-probe-widens/.
                                                  58
        Case 2:16-md-02724-CMR Document 126 Filed 01/27/17 Page 62 of 132




a market susceptible to collusion include: (1) a high degree of industry concentration;

(2) significant barriers to entry; (3) inelastic demand; (4) the lack of available substitutes for the

goods involved; (5) a standardized product with a high degree of interchangeability between the

products of cartel participants; and (6) intercompetitor contacts and communication.

                1.     Industry Concentration

         143.   A high degree of concentration facilitates the operation of a cartel because it

makes it easier to coordinate behavior among co-conspirators.

         144.   As described above, in the United States generic digoxin and generic doxycycline

markets, the number of meaningful competitors has dwindled, creating conditions favorable to an

effective cartel. The firms that currently control most of the market are Defendants. A graphic

available at the website of one pharmacy benefits manager (“PBM”)83 reflects this development

with respect to the market for generic digoxin:




         145.   By the third quarter of 2013, the digoxin market was an effective duopoly and

new entrants in 2014 were perceived as “rational” competitors who would not disrupt the

existing price structure.




83
     http://campaign.optum.com/content/optum/en/thought-leadership/whatcanbedone.html.
                                                  59
        Case 2:16-md-02724-CMR Document 126 Filed 01/27/17 Page 63 of 132




         146.   In fact, the combined market share of Defendants’ generic digoxin was nearly

80% in 2012, 91% in 2013 and 97% in 2014.

         147.   Doxycycline presents a similar scenario. At one point there were over 20

manufacturers of generic doxycycline.84 However, over the past decade, the number of generic

drug manufacturers producing doxycycline has steadily dropped. Major Pharmaceuticals, Teva,

and West-Ward were among the generic manufacturers that discontinued certain doxycycline

product lines. Major Pharmaceuticals’ and Teva’s discontinuations occurred in or around

February 2013 and May 2013, respectively.85 West-Ward discontinued one line of doxycycline

in or around July 2013. Defendants’ market share for generic doxycycline delayed release

products was nearly 100%.

                2.       Barriers to Entry

         148.   Supracompetitive pricing in a market normally attracts additional competitors

who want to avail themselves of the high levels of profitability that are available. However, the

presence of significant barriers to entry makes this more difficult and helps to facilitate the

operation of a cartel.

         149.   There are significant capital, regulatory, and intellectual property barriers to entry

in the generic digoxin and doxycycline markets that make such entry time-consuming and

expensive.

         150.   Par’s own 2015 Form 10-K (cited above) states that its business is to develop and

commercialize “generic drugs with limited competition, high barriers to entry and longer life

cycles.”




84
     https://vineyardgazette.com/news/2015/09/24/cost-doxycycline-skyrockets.
85
     http://www.ashp.org/menu/DrugShortages/CurrentShortages/bulletin.aspx?id=977.
                                                 60
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       151.    Costs of manufacture, coupled with regulatory oversight, represent a substantial

barrier to entry in both the generic digoxin and doxycycline markets. This is reflected in West-

Ward’s having to shut down temporarily its New Jersey production facility for digoxin and spend

$39 million on remediation. Likewise, Impax’s 2015 Form 10-K (cited above) referenced FDA

warning letters it received with respect to its manufacturing facilities in Hayward, California and

Taiwan. And the predecessor to Actavis plc’s issues with the FDA over production of

doxycycline at its New Jersey facilities provides another example.

       152.    Intellectual property costs can also be substantial, as reflected in Par’s digoxin

licensing deal with Covis and Lannett’s licensing arrangement with JSP.

       153.    In addition to the substantial out-of-pocket costs required to bring a drug to

market, the approval process for generic drugs takes significant time. As Kansas Senator Jerry

Moran commented on September 21, 2016 during Congressional hearings on the FDA’s role in

the generic drug market, “there are more than 4,000 generic drug applications currently awaiting

approval, and the median time it takes for the FDA to approve a generic is now 47 months or

nearly four years.”86 This significant delay for new market entrants effectively precludes new

competition from eroding the supracompetitive prices imposed by the conspiracy.

               3.     Demand Inelasticity

       154.    Price elasticity of demand is defined as the measure of responsiveness in the

quantity demanded for a product as a result of change in price of the same product. It is a

measure of how demand for a product reacts to a change in price. The basic necessities of life—

food, water, and shelter—are examples of goods that experience nearly perfectly inelastic




86
  http://www.appropriations.senate.gov/imo/media/doc/092116-Chairman-Moran-Opening-
Statement.pdf.
                                                61
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demand at or near the minimums necessary to sustain life. In other words, a person on the verge

of dying of thirst will pay almost anything for water.

        155.    In order for a cartel to profit from raising prices above competitive levels, demand

for the product must be sufficiently inelastic such that any loss in sales will be more than offset

by increases in revenue on those sales that are made. Otherwise, increased prices would result in

declining sales, revenues, and profits as customers purchased substitute products or declined to

buy altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing

producers to raise their prices without triggering customer substitution and lost sales revenue.

        156.    Demand for doxycycline and digoxin tablets are highly inelastic because both are

unique products: digoxin is a unique compound that is used for the treatment of atrial fibrillation

and heart failure; doxycycline is similarly unique in that it is used to treat a broad spectrum of

bacterial infections. Their common use has led to both drugs being designated as “essential

medicines” by the World Health Organization.

        157.    Thus, generic digoxin and generic doxycycline are excellent candidates for

cartelization because price increases will result in more revenue, rather than less.

                4.      Lack of Substitutes

        158.    In the case of digoxin, while other medications exist for the treatment of atrial

fibrillation, many doctors, particularly geriatricians and general practitioners, see digoxin as the

primary medication for the treatment of this condition.

        159.    Furthermore, other atrial fibrillation drugs have different mechanisms for treating

atrial fibrillation that can be used as complements to, rather than substitutes for, digoxin. For

example, sodium and potassium channel blockers like flecainide, propafenone, or sotalol, are

used for controlling heart rhythm in patients with atrial fibrillation, while digoxin is used to

control heart rates in patients with atrial fibrillation.
                                                   62
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        160.    Even other heart rate controlling medications, such as beta blockers, are not ready

substitutes for digoxin tablets because they have different chemical and pharmacokinetic

properties that may not make them suitable treatment options under many circumstances. One

study published in the Journal of the American College of Cardiology found “that digoxin is still

a first-line alternative to control ventricular rate in patients with atrial fibrillation, particularly in

cases with congestive heart failure and left ventricular systolic dysfunction.”87

        161.    Other antibiotics—even other tetracycline antibiotics—are not substitutes for

doxycycline. Medical professionals consider doxycycline a “workhorse” drug—the standard

prescription for the treatment of a variety of bacterial infections, including bacterial pneumonia,

acne, chlamydia, Lyme disease, cholera, and syphilis.88

        162.    Other tetracyclines, such as chlortetracycline and oxytetracycline, are short acting

antibiotics, with half-lives of between six and eight hours—meaning that half of these drugs’

pharmacological benefits have been used within that period. By contrast, doxycycline has a half-

life of 16 hours, i.e., double that of either chlortetracycline or oxytetracycline. Further, even as

compared to other longer-acting tetracyclines, such as minocycline, studies have found that

doxycycline has resulted in fewer adverse events in patients, thereby making it the standard

choice among physicians for the bacterial infections listed above.89



87
   Henrique H. Veloso & Angelo A.V. de Paola, Beta-Blockers Versus Digoxin to Control
Ventricular Rate During Atrial Fibrillation, 45 J. Am. Coll. Cardiology 1905, 1906 (June 2005),
http://content.onlinejacc.org/article.aspx?articleid=1136643.
88
   Dr. Jeremy A. Greene, Drug Bust, Slate (Nov. 20, 2014),
http://www.slate.com/articles/business/moneybox/2014/11/generic_drug_prices_why_their_price
s_are_suddenly_surging.html.
89
   See Kelly Smith & James J. Leyden, Safety of doxycycline and minocycline: A systematic
review, 27 Clinical Therapeutics 1329 (Sept. 2005),
http://www.ncbi.nlm.nih.gov/pubmed/16291409.

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         163.    In addition, branded versions of digoxin tablets or doxycycline do not serve as

economic substitutes for generic versions of these compounds because branded products

generally maintain substantial price premiums over their generic counterparts, making them inapt

substitutes even when generic prices soar. For example, WAC pricing for Lanoxin (the branded

version of digoxin tablets) was $240.00 per 100 tablet bottle in August 2013, which was more

than double both Impax’s and Lannett’s WAC prices for digoxin tablets around that time, which

was $118.50 per 100 tablet bottle.90

         164.    Thus, purchasers of doxycycline and digoxin tablets are held captive to the

supracompetitive prices that resulted from Defendants’ conspiracy to fix prices and allocate

markets and customers.

                 5.     Standardized Product with High Degree of Interchangeability

         165.    A commodity-like product is one that is standardized across suppliers and allows

for a high degree of substitutability among different suppliers in the market. When products

offered by different suppliers are viewed as interchangeable by purchasers, it is easier for the

suppliers to agree on prices for the goods in question and it is easier to monitor these prices

effectively.

         166.    Generic drugs of the same chemical composition are effectively commodity

products because the primary mechanism through which they compete is price. Because the

FDA, when approving an ANDA, is required to determine whether a generic drug product is

bioequivalent to the brand’s NDA, an AB-rating permits a pharmacist to substitute an AB-rated

generic for its branded counterpart, as well as to substitute one AB-rated generic for another AB-

rated generic for the same branded product.


90
     Oppenheimer Equity Research, Lannett Company, Inc. (Feb. 7, 2014) at 2.

                                                64
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       167.      The generic digoxin and/or generic doxycycline made by the defendant

manufacturers are each chemical compounds composed of the same raw materials; indeed,

Bedrosian has commented that Defendants use many of the same suppliers. He also

acknowledged the commodity nature of Lannett’s generics business during a November 7, 2013

earnings call.

       168.      Because Defendants’ digoxin tablets are AB-rated generics of Lanoxin,

pharmacists are permitted to substitute them for Lanoxin. Similarly, Defendants’ doxycycline

tablets are AB-rated generics of their branded counterparts, enabling pharmacists to substitute

them for branded products.

       169.      Moreover, because generic manufacturers generally spend little effort advertising

or detailing their generic compounds (i.e., the practice of providing promotional materials and

free samples to physicians), the primary means for one generic manufacturer to differentiate its

product from another generic competitor’s is through price reductions.91 The need to compete on

price can drive producers of commodity products to conspire—as they did here—to fix prices.

                 6.     Inter-competitor Contacts and Communications

       170.      As discussed above, Defendants’ representatives met at conferences convened by

customers and trade associations of customers (such as the ECRM and NACDS), private industry

dinners, and GNOs. Moreover, Defendants are members of and/or participants of the GPhA;

thus, their representatives have many opportunities to meet and conspire at industry meetings.

Indeed, the Connecticut AG Complaint alleges that Defendants routinely coordinated their

schemes through direct interaction with their competitors at industry trade shows, customer

conferences, and other events. Defendants Glazer and Malek admitted at their guilty plea

91
  See https://www.cbo.gov/sites/default/files/111th-congress-2009-2010/reports/12-02-
drugpromo_brief.pdf at 1.

                                                65
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hearings to engaging in discussions and attending meetings with competitors, during which they

reached agreements to allocate customers, rig bids and fix prices of doxycycline.

           171.    The grand jury subpoenas discussed above lend further support to the conclusion

that inter-competitor communications occurred with respect to the pricing of generic drugs.

Indeed, according to the previously-identified PaRR Report, “prosecutors are taking a close look

at trade associations as part of their investigation as having been one potential avenue for

facilitating the collusion between salespeople at different generic producers.”92 The allegations in

the AG Complaint confirm this.

           172.    In addition, as noted above, Lannett’s Bedrosian has made significant assertions

about how Lannett and its competitors view the competitive landscape for generic drugs, and that

none of them will compete on price for the foreseeable future. Such statements also indicate

inter-competitor contacts and communications. For example, around seven months after the price

of doxycycline skyrocketed in January 2013, Defendant West-Ward’s parent company Hikma

raised guidance for the drug doxycycline from $200 million to $230 million—a signal “that

doxycycline prices will remain high.”93

     IX.        THE STATUTES OF LIMITATIONS DO NOT BAR PLAINTIFFS’ CLAIMS

           A.      The Statutes of Limitations Did Not Begin to Run Because Plaintiffs Did Not
                   and Could Not Discover Defendants’ Unlawful Conspiracy

           173.    Plaintiffs had no knowledge of the combination or conspiracy alleged herein, or

of facts sufficient to place them on inquiry notice of the claims set forth herein, until (at the

earliest) Defendants’ disclosures of the existence of the government investigations and

subpoenas. Prior to that time, no information in the public domain or available to Plaintiffs

92
  http://www.mergermarket.com/pdf/DoJ-Collusion-Generic-Drug-Prices-2015.pdf.
93
  See http://articles.economictimes.indiatimes.com/2013-08-23/news/41440919_1_sun-
pharmaceuticals-doxycycline-sun-pharma-shares.
                                                  66
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suggested that any Defendant was involved in a criminal conspiracy to fix prices for generic

digoxin and generic doxycycline.

         174.   In the case of Heritage, Mayne, Glazer and Malek, specifically, Plaintiffs had no

knowledge of the combination or conspiracy alleged herein, or of facts sufficient to place them

on inquiry notice of the claims set forth against these Defendants, until (at the earliest) the filing

of the AG’s Complaint and/or the filing of the criminal Informations against Glazer and Malek.

         175.   No information evidencing antitrust violations was available in the public domain

prior to the public announcements of the government investigations that revealed sufficient

information to suggest that any of the defendants was involved in a criminal conspiracy to fix

prices for generic digoxin and generic doxycycline.

         176.   Plaintiffs are purchasers who indirectly purchased generic digoxin and generic

doxycycline manufactured by one or more Defendants. They had no direct contact or interaction

with any of the Defendants in this case and had no means from which they could have

discovered Defendants’ conspiracy.

         177.   Defendants repeatedly and expressly stated throughout the Class Period, including

on their public Internet websites, that they maintained antitrust/fair competition policies which

prohibited the type of collusion alleged in this Complaint. For example:

                (a)    Allergan’s (predecessor to Actavis) Code of Conduct states: “We support
                       a free and open market, which is why we comply with competition laws
                       everywhere we do business and strive to always compete fairly.”94

                (b)    Lannett’s Code of Business Conduct and Ethics “promotes compliance
                       with laws.”95

                (c)    Impax’s Code of Business Conduct and Ethics provides: “Impax is
                       committed to free and open competition in the marketplace, and requires

94
     http://www.allergan.com/investors/corporate-governance/code-of-conduct.
95
     http://www.lannett.com/docs/2013_Code_of_Business_Conduct_and_Ethics.pdf.
                                                 67
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                      employees to strictly adhere to the antitrust laws in the countries where we
                      do business.” It continues: “No employee may discuss with, or provide
                      information to, any competitor about pricing or related matters, whether
                      the information concerns Impax or its suppliers, distributors, wholesalers
                      or customers.”96

               (d)    Mayne’s Business Code of Conduct provides: “Do not agree, even
                      informally, with competitors on price (or any elements of price including
                      discounts or rebates), production, customers or markets without a lawful
                      reason.”97

               (e)    Mylan’s Code of Conduct and Business Ethics states: “Mylan is
                      committed to complying with applicable antitrust and fair competition
                      laws.”98

               (f)    Par Pharmaceutical’s Code of Conduct provides: “It is Company policy to
                      comply with the antitrust and competition laws of each country in which
                      the Company does business.”99

               (g)    Sun Pharmaceutical Industries, Ltd.’s Global Code of Conduct provides:
                      “We seek to outperform our competition fairly and honestly. We seek
                      competitive advantages through superior performance, never through
                      unethical or illegal business practices.” It goes on to state: “Sun Pharma
                      shall compete only in an ethical and legitimate manner and prohibits all
                      actions that are anti-competitive or otherwise contrary to applicable
                      competition or anti-trust laws.”100

               (h)    Hikma’s (the parent of West-Ward) Code of Conduct provides: “Hikma
                      will engage in free and fair competition and not seek competitive
                      advantage through unlawful means. Hikma will not collude with
                      competitors on prices, bids or market allocations, nor exchange
                      information with third parties in a way that could improperly influence
                      business outcomes.”101

       178.    It was reasonable for members of the Class to believe that Defendants were

complying with their own antitrust policies.

96
   http://investors.impaxlabs.com/Investor-Relations/Corporate-
Governance/Policies/default.aspx.
97
   https://www.maynepharma.com/media/1786/business-code-of-conduct.pdf.
98
   https://www.mylan.com/-
/media/mylancom/files/code%20of%20business%20conduct%20and%20ethics.pdf.
99
   http://corpdocs.msci.com/ethics/eth_19100.pdf.
100
    https://www.sunpharma.com/policies.
101
    http://www.hikma.com/en/sustainability/Code-of-conduct.html.
                                               68
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       179.    For these reasons, the statutes of limitations as to Plaintiffs’ claims under the

federal and state common laws identified herein did not begin to run, and have been tolled with

respect to the claims that Plaintiffs have alleged in this Complaint.

       B.      Fraudulent Concealment Tolled the Statutes of Limitations

       180.    In the alternative, application of the doctrine of fraudulent concealment tolled the

statutes of limitations on the claims asserted herein by Plaintiffs. Plaintiffs had no knowledge of

the combination or conspiracy alleged in this Complaint, or of facts sufficient to place them on

inquiry notice of their claims, until Defendants disclosed the existence of government

investigations and subpoenas. Prior to that time, no information in the public domain or available

to Plaintiffs suggested that any Defendant was involved in a criminal conspiracy to fix prices for

generic digoxin and generic doxycycline.

       181.    In the case of Heritage, Mayne, Glazer and Malek, Plaintiffs had no knowledge of

the combination or conspiracy alleged herein, or of facts sufficient to place them on inquiry

notice of the claims set forth against these Defendants, until (at the earliest) the filing of the

AG’s Complaint and/or the filing of the criminal Informations against Glazer and Malek.

       182.    No information evidencing antitrust violations was available in the public domain

prior to the public announcements of the government investigations that revealed sufficient

information to suggest that any of the defendants was involved in a criminal conspiracy to fix

prices for generic digoxin and generic doxycycline.

       183.    As described in more detail below, Defendants actively concealed, suppressed,

and omitted to disclose material facts to Plaintiffs and members of the Classes concerning

Defendants’ unlawful activities to artificially inflate prices for generic digoxin and generic

doxycycline. The concealed, suppressed, and omitted facts would have been important to

Plaintiffs and members of the Classes as they related to the cost of generic digoxin and generic
                                                 69
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doxycycline they purchased. Defendants misrepresented the real cause of price increases and/or

the absence of price reductions in generic digoxin and generic doxycycline. Defendants’ false

statements and conduct concerning the prices of generic digoxin and generic doxycycline were

deceptive as they had the tendency or capacity to mislead Plaintiffs and members of the Classes

to believe that they were purchasing generic digoxin and generic doxycycline at prices

established by a free and fair market.

               1.      Active Concealment of the Conspiracy

       184.    Defendants engaged in an illegal scheme to fix prices, allocate customers and rig

bids. Criminal and civil penalties for engaging in such conduct are severe. Not surprisingly,

Defendants took affirmative measures to conceal their conspiratorial conduct.

       185.    Through their misleading, deceptive, false and fraudulent statements, Defendants

effectively concealed their conspiracy, thereby causing economic harm to Plaintiffs and the

Classes. Defendants’ misrepresentations regarding their price changes were intended to lull

Plaintiffs and the Classes into accepting the price hikes as a normal result of competitive and

economic market trends rather than the consequences of Defendants’ collusive acts. The public

statements made by Defendants were designed to mislead Plaintiffs and the Classes into paying

unjustifiably higher prices for generic digoxin and doxycycline.

       186.    For example, Heritage executives took overt steps to conceal their illegal activity,

and destroy evidence of any wrongdoing going back to at least 2012. This conduct included a

concerted and conscious effort to destroy documents, instructions not to put incriminating

evidence in writing, directives not to use email, and the deletion of incriminating text messages.

       187.    Paragraphs 119-27 of the AG Complaint provides specific examples of these acts

of fraudulent concealment with respect to Defendants Heritage, Mayne, Malek, and Glazer,

including: (a) Glazer reminding Malek on June 26, 2014 not to put evidence of his illegal
                                                70
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conduct in writing; (b) Heritage being instructed by a competitor not to communicate through e-

mail but to instead communicate by telephone; (c) Malek sending a text message about how to

avoid detection by regulators, which was not produced by Heritage in response to a subpoena by

the Connecticut AG; (d) deletion of e-mails and text messages by Glazer, Malek, and other

employees of Heritage regarding illegal communications with competitors; and (e) one of

Mayne’s key executives who participated in the conspiracy deleting several of the most

incriminating text messages from her cellular telephone before the data on that telephone were

imaged and produced to the Connecticut AG’s office.

       188.    As Jepsen said in the press release referenced above that was issued at the time

that the AG Complaint was filed: “[t]he states further allege that the drug companies knew that

their conduct was illegal and made efforts to avoid communicating with each other in writing or,

in some instances, to delete written communications after becoming aware of the

investigation.”102

       189.    The concealment was not limited to these Defendants. By way of further example,

Defendants also falsely denied that their price increases were caused by agreements with one

another. For example, in earnings calls held in 2015 and 2016, Bedrosian of Lannett repeatedly

denied that his company engaged in any wrongdoing. Moreover, Bedrosian defended his

company’s price hikes on generic drugs like digoxin, calling them “[c]onsistent with industry

norms.”103




102
   http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.
103
   http://www.forbes.com/sites/nathanvardi/2016/10/06/another-drug-company-that-raises-
prices-like-crazy/2/#1c41cf0e77ef.
                                              71
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       190.    In an August 2015 press release, Impax misleadingly characterized “significantly

lower sales of generic digoxin as a result of additional competition.”104 In fact, the conspiracy

among Defendants reduced competition in the market for generic digoxin, and prices remained at

supracompetitive levels.

       191.    Similarly, during an August 11, 2015 earnings call, Dilip Shanghvi, the Managing

Director at Sun Pharmaceutical Industries Ltd., misleadingly discussed “competitive pressure on

some of the products like … Doxycycline…where competitive intensity has increased,” when in

fact, Sun was engaged in a conspiracy to lessen competitive forces and inflate prices.105

       192.    These false statements and others made by Defendants helped conceal the illegal

conspiracy entered into by Defendants to fix, stabilize, maintain and raise the price of generic

digoxin and generic doxycycline to inflated, supracompetitive levels.

               2.     Plaintiffs Exercised Reasonable Diligence

       193.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Generic drugs are not exempt from antitrust regulation, and thus, before the disclosure of the

government investigations, Plaintiffs reasonably considered the markets for generic digoxin and

doxycycline to be competitive. Accordingly, a reasonable person under the circumstances would

not have been alerted to investigate the legitimacy of Defendants’ prices before these disclosures.

       194.    Because of the deceptive practices and techniques of secrecy employed by

Defendants and their co-conspirators to conceal their illicit conduct, Plaintiffs and the Classes

could not have discovered the conspiracy at an earlier date by the exercise of reasonable

diligence.

104
    http://investors.impaxlabs.com/Media-Center/Press-Releases/Press-Release-
Details/2015/Impax-Reports-Second-Quarter-2015-Financial-Results/default.aspx.
105
    http://www.sunpharma.com/Media/Press-
Releases/FY16%20Q1%20Earnings%20Call%20Transcript.pdf.
                                                72
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       195.    Therefore, the running of any statutes of limitations has been tolled for all claims

alleged by Plaintiffs and the Classes as a result of Defendants’ anticompetitive and unlawful

conduct. Despite the exercise of reasonable diligence, Plaintiffs and Members of the Classes

were unaware of Defendants’ unlawful conduct, and did not know that they were paying

supracompetitive prices for generic digoxin and doxycycline throughout the United States during

the Class Period.

       196.    For these reasons, Plaintiffs’ claims are timely under both the federal, state and

common laws identified herein.

                            X.      CONTINUING VIOLATIONS

       197.    This Complaint alleges a continuing course of conduct (including conduct within

the limitations periods), and defendants’ unlawful conduct has inflicted continuing and

accumulating harm within the applicable statutes of limitations. Thus, Plaintiffs and the

members of the Damages Class can recover for damages that they suffered during any applicable

limitations period.

                      XI.   DEFENDANTS’ ANTITRUST VIOLATIONS

       198.    During the Class Period, set forth below, Defendants engaged in a continuing

agreement, understanding, and conspiracy in restraint of trade to allocate customers, rig bids, and

fix prices for generic digoxin and/or doxycycline sold in the United States.

       199.    In formulating and effectuating the contract, combination or conspiracy,

Defendants identified above and their co-conspirators engaged in anticompetitive activities, the

purpose and effect of which were to allocate customers, rig bids and artificially fix, raise,

maintain, and/or stabilize the price of generic digoxin and/or generic doxycycline sold in the

United States. These activities included the following:



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               (a)    Defendants participated in meetings and/or conversations regarding the

price of generic digoxin and/or generic doxycycline in the United States;

               (b)    Defendants agreed during those meetings and conversations to charge

prices at specified levels and otherwise to increase and/or maintain prices of generic digoxin

and/or generic doxycycline sold in the United States;

               (c)    Defendants agreed during those meetings and conversations to allocate

customers, rig bids, and fix the price of generic digoxin and/or generic doxycycline; and

               (d)    Defendants issued price announcements and price quotations in

accordance with their agreements.

       200.    Defendants and their co-conspirators engaged in the activities described above for

the purpose of effectuating the unlawful agreements described in this Complaint.

       201.    During and throughout the period of the conspiracy alleged in this Complaint,

Plaintiffs and members of the Classes indirectly purchased generic digoxin and/or generic

doxycycline at inflated and supracompetitive prices.

       202.    Defendants’ contract, combination and conspiracy constitutes an unreasonable

restraint of interstate trade and commerce in violation of Sections 1 and 3 of the Sherman Act

(15 U.S.C. § 1, 3) and the laws of various Indirect Purchaser States enumerated below.

       203.    As a result of Defendants’ unlawful conduct, Plaintiffs and the other members of

the Classes have been injured in their business and property in that they have paid more for

generic digoxin and/or generic doxycycline than they would have paid in a competitive market.

       204.    General economic principles recognize that any overcharge at a higher level of

distribution generally results in higher prices at every level below. Moreover, the institutional

structure of pricing and regulation in the pharmaceutical drug industry assures that overcharges



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at the higher level of distribution are passed on to end-payers such as Plaintiffs. Wholesalers and

retailers passed on the inflated prices of digoxin and doxycycline to Plaintiffs and members of

the Class. The impairment of generic competition at the direct purchaser level similarly injured

Plaintiffs who were equally denied the opportunity to purchase less expensive generic versions

of digoxin and doxycycline.

       205.     The unlawful contract, combination and conspiracy has had the following effects,

among others:

                (a)    price competition in the market for generic digoxin and/or generic

doxycycline has been artificially restrained;

                (b)    prices for generic digoxin and/or generic doxycycline sold by Defendants

have been raised, fixed, maintained, or stabilized at artificially high and non-competitive levels;

and

                (c)    end-payer purchasers of generic digoxin and/or generic doxycycline sold

by Defendants have been deprived of the benefit of free and open competition in the market for

generic digoxin and generic doxycycline.

                           XII.    CLASS ACTION ALLEGATIONS

       206.     Plaintiffs brings this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive

relief on behalf of the following class (the “Nationwide Class”):

                All persons and entities in the United States and its territories who
                indirectly purchased, paid and/or provided reimbursement for some
                or all of the purchase price for Defendants’ generic digoxin and/or
                generic doxycycline hyclate products, other than for resale, from
                October 1, 2012 through the present. This class excludes:
                (a) Defendants, their officers, directors, management, employees,
                subsidiaries, and affiliates; (b) all federal and state governmental
                entities except for cities, towns, municipalities, or counties with
                self-funded prescription drug plans; (c) all persons or entities who
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              purchased Defendants’ generic digoxin or doxycycline products
              for purposes of resale or directly from Defendants; (d) fully
              insured health plans (i.e., health plans that purchased insurance
              covering 100% of their reimbursement obligation to members);
              (e) any “flat co-pay” consumers whose purchases of Defendants’
              generic digoxin or doxycycline products were paid in part by a
              third party payer and whose co-payment was the same regardless
              of the retail purchase price; (f) pharmacy benefit managers; and
              (g) any judges or justices involved in this action and any members
              of their immediate families.

       207.   Plaintiffs also bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to the

common law of unjust enrichment and the state antitrust, unfair competition, and consumer

protection laws of the states listed below (the “Indirect Purchaser States”)106 on behalf of the

following class (the “Damages Class”):

              All persons and entities in the Indirect Purchaser States who
              indirectly purchased, paid and/or provided reimbursement for some
              or all of the purchase price for Defendants’ generic digoxin and/or
              generic doxycycline hyclate products, other than for resale, from
              October 1, 2012 through the present. This class excludes:
              (a) Defendants, their officers, directors, management, employees,
              subsidiaries, and affiliates; (b) all federal and state governmental
              entities except for cities, towns, municipalities, or counties with
              self-funded prescription drug plans; (c) all persons or entities who
              purchased Defendants’ generic digoxin or doxycycline products
              for purposes of resale or directly from Defendants; (d) fully
              insured health plans (i.e., health plans that purchased insurance
              covering 100% of their reimbursement obligation to members);
              (e) any “flat co-pay” consumers whose purchases of Defendants’
              generic digoxin or doxycycline products were paid in part by a
              third party payer and whose co-payment was the same regardless
              of the retail purchase price; (f) pharmacy benefit managers; and
              (g) any judges or justices involved in this action and any members
              of their immediate families.


106
   The “Indirect Purchaser States” consist of Alabama, Arkansas, Arizona, California, District of
Columbia, Florida, Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,
Missouri, Mississippi, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York,
North Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee,
Utah, Vermont, West Virginia and Wisconsin.
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       208.    The Nationwide Class and the Damages Class are referred to herein as the

“Classes.”

       209.    While Plaintiffs do not know the exact number of the members of the Classes,

Plaintiffs believe there are millions of members in each Class.

       210.    Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ conspiracy, which was generally applicable to

all the members of both Classes, thereby making appropriate relief with respect to the Classes as

a whole. Such questions of law and fact common to the Classes include, but are not limited to:

               (a)    Whether Defendants and their co-conspirators engaged in a combination

and conspiracy among themselves to fix, raise, maintain and/or stabilize prices of generic

digoxin and/or generic doxycycline and/or engaged in market allocation for generic digoxin

and/or generic doxycycline sold by prescription in the United States;

               (b)    The identity of the participants of the alleged conspiracy;

               (c)    The duration of the alleged conspiracy and the acts carried out by

Defendants and their co-conspirators in furtherance of the conspiracy;

               (d)    Whether the alleged conspiracy violated the Sherman Act, as alleged in

the First Count;

               (e)    Whether the alleged conspiracy violated state antitrust and unfair

competition laws, and/or state consumer protection laws, as alleged in the Second and Third

Counts;

               (f)    Whether Defendants unjustly enriched themselves to the detriment of the

Plaintiffs and the members of the Classes, thereby entitling Plaintiffs and the members of the

Classes to disgorgement of all benefits derived by Defendants, as alleged in the Fourth Count;



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               (g)    Whether the conduct of Defendants and their co-conspirators, as alleged in

this Complaint, caused injury to the business or property of Plaintiffs and the members of the

Classes;

               (h)    The effect of the alleged conspiracy on the prices of generic digoxin and

generic doxycycline sold in the United States during the Class Period;

               (i)    Whether the Defendants and their co-conspirators actively concealed,

suppressed, and omitted to disclose material facts to Plaintiffs and members of the Classes

concerning Defendants’ unlawful activities to artificially inflate prices for generic digoxin and

generic doxycycline, and/or fraudulently concealed the unlawful conspiracy’s existence from

Plaintiffs and the other members of the Classes;

               (j)    The appropriate injunctive and related equitable relief for the Nationwide

Class; and

               (k)    The appropriate class-wide measure of damages for the Damages Class.

       211.    Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all

members of the Classes are similarly affected by Defendants’ wrongful conduct in that they paid

artificially inflated prices for generic digoxin and generic doxycycline purchased indirectly from

Defendants and/or their co-conspirators.

       212.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

who are competent and experienced in the prosecution of antitrust and class action litigation.




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       213.     The questions of law and fact common to the members of the Classes

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

       214.     Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in management of this class action.

       215.     The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

                                 XIII.      CAUSES OF ACTION

                                            FIRST COUNT

                       Violation of Sections 1 and 3 of the Sherman Act
                       (on behalf of Plaintiffs and the Nationwide Class)

       216.     Plaintiffs incorporate by reference the allegations set forth above as if fully set

forth herein.

       217.     Defendants and their unnamed co-conspirators entered into and engaged in a

contract, combination, or conspiracy in unreasonable restraint of trade in violation of Sections 1

and 3 of the Sherman Act (15 U.S.C. § 1, 3).




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          218.   During the Class Period, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to artificially allocate

customers, rig bids and raise, maintain and fix prices for generic digoxin and/or doxycycline,

thereby creating anticompetitive effects.

          219.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for generic digoxin and generic doxycycline.

          220.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

situated indirect purchasers in the Nationwide Class who purchased generic digoxin and generic

doxycycline have been harmed by being forced to pay inflated, supracompetitive prices for

generic digoxin and generic doxycycline.

          221.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including, but not limited to, the acts, practices and course of conduct set forth

herein.

          222.   Defendants’ conspiracy had the following effects, among others:

                 (a)    Price competition in the market for generic digoxin and generic

doxycycline has been restrained, suppressed, and/or eliminated in the United States

                 (b)    Prices for generic digoxin and generic doxycycline provided by

Defendants and their co-conspirators have been fixed, raised, maintained, and stabilized at

artificially high, non-competitive levels throughout the United States; and

                 (c)    Plaintiffs and members of the Nationwide Class who purchased generic

digoxin and generic doxycycline indirectly from Defendants and their co-conspirators have been

deprived of the benefits of free and open competition.



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       223.     Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property by paying more for generic digoxin and

generic doxycycline purchased indirectly from Defendants and the co-conspirators than they

would have paid and will pay in the absence of the conspiracy.

       224.     Defendants’ contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

       225.     Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the continuing violations alleged herein.

                                        SECOND COUNT

                               Violation of State Antitrust Statutes
                          (on behalf of Plaintiffs and the Damages Class)

       226.     Plaintiffs incorporate by reference the allegations set forth above as if fully set

forth herein.

       227.     During the Class Period, Defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy with respect to the sale of generic digoxin and

generic doxycycline in unreasonable restraint of trade and commerce and in violation of the

various state antitrust and other statutes set forth below.

       228.     The contract, combination, or conspiracy consisted of an agreement among

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain the prices of

generic digoxin and generic doxycycline and to allocate customers for generic digoxin and

generic doxycycline in the United States.

       229.     In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including: (a)

participating in meetings and conversations among themselves in the United States and


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elsewhere during which they agreed to price generic digoxin and generic doxycycline at certain

levels, and otherwise to fix, increase, inflate, maintain, or stabilize effective prices paid by

Plaintiffs and members of the Damages Class with respect to generic digoxin and generic

doxycycline provided in the United States; and (b) participating in meetings and trade

association conversations among themselves in the United States and elsewhere to implement,

adhere to, and police the unlawful agreements they reached.

        230.    Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreement to allocate customers, rig bids, and fix

prices for generic digoxin and generic doxycycline.

        231.    Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the following state antitrust statutes.

        232.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Alabama Code § 6-5-60, et seq. Defendants’ combinations and conspiracy had the

following effects: (1) price competition for generic digoxin and generic doxycycline was

restrained, suppressed, and eliminated throughout Alabama; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained and stabilized at artificially high levels

throughout Alabama; (3) Plaintiffs and members of the Damages Class were deprived of free and

open competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct substantially affected Alabama commerce. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. By reason of the

foregoing, Defendants entered into an agreement in restraint of trade in violation of Alabama



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Code § 6-5-60, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms

of relief available under Alabama Code § 6-5-60, et seq.

       233.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Arizona Revised Statutes, § 44-1401, et seq. Defendants’ combination and

conspiracy had the following effects: (1) price competition for generic digoxin and generic

doxycycline was restrained, suppressed, and eliminated throughout Arizona; (2) generic digoxin

and generic doxycycline prices were raised, fixed, maintained and stabilized at artificially high

levels throughout Arizona; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants’ illegal conduct substantially affected Arizona commerce.

Defendants’ violations of Arizona law were flagrant. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured

in their business and property and are threatened with further injury. By reason of the foregoing,

Defendants entered into an agreement in restraint of trade in violation of Ariz. Rev. Stat. § 44-

1401, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief

available under Ariz. Rev. Stat. § 44-1401, et seq.

       234.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of California Business and Professions Code § 16700 et seq. During the Class Period,

Defendants and their co-conspirators entered into and engaged in a continuing unlawful trust in

restraint of the trade and commerce described above in violation of California Business and

Professions Code §16720. Defendants, and each of them, have acted in violation of § 16720 to

fix, raise, stabilize, and maintain prices of generic digoxin and generic doxycycline at



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supracompetitive levels. The aforesaid violations of § 16720 consisted, without limitation, of a

continuing unlawful trust and concert of action among Defendants and their co-conspirators, the

substantial terms of which were to fix, raise, maintain, and stabilize the prices of generic digoxin

and generic doxycycline. For the purpose of forming and effectuating the unlawful trust,

Defendants and their co-conspirators have done those things which they combined and conspired

to do, including, but not limited to, the acts, practices and course of conduct set forth above and

creating a price floor, fixing, raising, and stabilizing the price of generic digoxin and generic

doxycycline. The combination and conspiracy alleged herein has had, inter alia, the following

effects: (1) price competition for generic digoxin and generic doxycycline has been restrained,

suppressed, and/or eliminated in the State of California; (2) prices for generic digoxin and

generic doxycycline provided by Defendants and their co-conspirators have been fixed, raised,

stabilized, and pegged at artificially high, non-competitive levels in the State of California; and

(3) those who purchased generic digoxin and generic doxycycline indirectly from Defendants

and their co-conspirators have been deprived of the benefit of free and open competition. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property in that they paid more for

generic digoxin and generic doxycycline than they otherwise would have paid in the absence of

Defendants’ unlawful conduct. During the Class Period, Defendants’ illegal conduct

substantially affected California commerce. As a result of Defendants’ violation of § 16720,

Plaintiffs and members of the Damages Class seek treble damages and their cost of suit,

including a reasonable attorney’s fee, pursuant to California Business and Professions Code §

16750(a).




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       235.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of District of Columbia Code Annotated § 28-4501, et seq. Defendants’ combination

and conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout the District of Columbia; (2)

generic digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout the District of Columbia; (3) Plaintiffs and members of the

Damages Class, including those who resided in the District of Columbia and/or purchased

generic digoxin and generic doxycycline in the District of Columbia that were shipped by

Defendants or their co-conspirators into the District of Columbia, were deprived of free and open

competition, including in the District of Columbia; and (4) Plaintiffs and members of the

Damages Class, including those who resided in the District of Columbia and/or purchased

generic digoxin and generic doxycycline in the District of Columbia that were shipped by

Defendants or their co-conspirators, paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline, including in the District of Columbia. During the Class Period,

Defendants’ illegal conduct substantially affected District of Columbia commerce. As a direct

and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages

Class have been injured in their business and property and are threatened with further injury. By

reason of the foregoing, Defendants have entered into an agreement in restraint of trade in

violation of District of Columbia Code Ann. § 28-4501, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all forms of relief available under District of Columbia

Code Ann. § 28-4501, et seq.

       236.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Hawaii Revised Statutes Annotated § 480-1, et seq. Defendants’ unlawful conduct



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had the following effects: (1) generic digoxin and generic doxycycline price competition was

restrained, suppressed, and eliminated throughout Hawaii; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout Hawaii; (3) Plaintiffs and members of the Damages Class were deprived of free and

open competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct substantially affected Hawaii commerce. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. By reason of the

foregoing, Defendants have entered into an agreement in restraint of trade in violation of Hawaii

Revised Statutes Annotated § 480-4, et seq. Accordingly, Plaintiffs and members of the Damages

Class seek all forms of relief available under Hawaii Revised Statutes Annotated § 480-4, et seq.

       237.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Illinois Antitrust Act (740 Illinois Compiled Statutes 10/1, et seq.) Defendants’

combination or conspiracy had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout Illinois; (2)

generic digoxin and generic doxycycline prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout Illinois; (3) Plaintiffs and members of the Damages Class were

deprived of free and open competition; and (4) Plaintiffs and members of the Damages Class

paid supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline.

During the Class Period, Defendants’ illegal conduct substantially affected Illinois commerce.

As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further



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injury. Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief

available under the Illinois Antitrust Act.

       238.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Iowa Code § 553.1, et seq. Defendants’ combination or conspiracy had the following

effects: (1) generic digoxin and generic doxycycline price competition was restrained,

suppressed, and eliminated throughout Iowa; (2) generic digoxin and generic doxycycline prices

were raised, fixed, maintained and stabilized at artificially high levels throughout Iowa; (3)

Plaintiffs and members of the Damages Class were deprived of free and open competition; and

(4) Plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated

prices for generic digoxin and generic doxycycline. During the Class Period, Defendants’ illegal

conduct substantially affected Iowa commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Damages Class have been injured in their

business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Iowa Code §

553.1, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief

available under Iowa Code § 553, et seq.

       239.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Kansas Statutes Annotated, § 50-101, et seq. Defendants’ combined capital, skills or

acts for the purposes of creating restrictions in trade or commerce of generic digoxin and generic

doxycycline, increasing the prices of generic digoxin and generic doxycycline, preventing

competition in the sale of generic digoxin and generic doxycycline, or binding themselves not to

sell generic digoxin and generic doxycycline, in a manner that established the price of generic

digoxin and generic doxycycline and precluded free and unrestricted competition among



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themselves in the sale of generic digoxin and generic doxycycline, in violation of Kan. Stat. Ann.

§ 50-101, et seq. Defendants’ combination or conspiracy had the following effects: (1) generic

digoxin and generic doxycycline price competition was restrained, suppressed, and eliminated

throughout Kansas; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Kansas; (3) Plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and members of the Damages Class paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct

substantially affected Kansas commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Damages Class have been injured in their

business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Kansas Stat. Ann.

§ 50-101, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of

relief available under Kansas Stat. Ann. § 50-101, et seq.

       240.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Maine Revised Statutes (Maine Rev. Stat. Ann. 10, § 1101, et seq.) Defendants’

combination or conspiracy had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout Maine; (2)

generic digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout Maine; (3) Plaintiffs and members of the Damages Class were

deprived of free and open competition; and (4) Plaintiffs and members of the Damages Class

paid supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline.

During the Class Period, Defendants’ illegal conduct substantially affected Maine commerce. As



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a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of

trade in violation of Maine Rev. Stat. Ann. 10, § 1101, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all relief available under Maine Rev. Stat. Ann. 10, § 1101,

et seq.

          241.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of Michigan Compiled Laws Annotated § 445.771, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Michigan; (2) generic digoxin

and generic doxycycline prices were raised, fixed, maintained and stabilized at artificially high

levels throughout Michigan; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants’ illegal conduct substantially affected Michigan commerce. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of

trade in violation of Michigan Comp. Laws Ann. § 445.771, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all relief available under Michigan Comp. Laws Ann. §

445.771, et seq.

          242.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of Minnesota Annotated Statutes § 325D.49, et seq. Defendants’ combination or



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conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Minnesota; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout Minnesota; (3) Plaintiffs and members of the Damages Class

were deprived of free and open competition; and (4) Plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct substantially affected

Minnesota commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property

and are threatened with further injury. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of Minnesota Stat. § 325D.49, et seq. Accordingly,

Plaintiffs and members of the Damages Class seek all relief available under Minnesota Stat. §

325D.49, et seq.

       243.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Mississippi Code Annotated § 75-21-1, et seq. Trusts are combinations, contracts,

understandings or agreements, express or implied when inimical to the public welfare and with

the effect of, inter alia, restraining trade, increasing the price or output of a commodity, or

hindering competition in the production and sale of a commodity. Miss. Code Ann. § 75-21-1.

Defendants’ combination or conspiracy was in a manner inimical to public welfare and had the

following effects: (1) generic digoxin and generic doxycycline price competition was restrained,

suppressed, and eliminated throughout Mississippi; (2) generic digoxin and generic doxycycline

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

Mississippi; (3) Plaintiffs and members of the Damages Class were deprived of free and open



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competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct substantially affected Mississippi commerce. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury. By reason

of the foregoing, Defendants have entered into an agreement in restraint of trade in violation of

Mississippi Code Ann. § 75-21-1, et seq. Accordingly, Plaintiffs and members of the Damages

Class seek all relief available under Mississippi Code Ann. § 75-21-1, et seq.

       244.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Nebraska Revised Statutes § 59-801, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic digoxin and generic doxycycline price competition was

restrained, suppressed, and eliminated throughout Nebraska; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained and stabilized at artificially high levels

throughout Nebraska; (3) Plaintiffs and members of the Damages Class were deprived of free

and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants’ illegal conduct substantially affected Nebraska commerce. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of

trade in violation of Nebraska Revised Statutes § 59-801, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all relief available under Nebraska Revised Statutes § 59-

801, et seq.



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       245.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Nevada Revised Statutes Annotated § 598A.010, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Nevada; (2) generic digoxin

and generic doxycycline prices were raised, fixed, maintained and stabilized at artificially high

levels throughout Nevada; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. In

accordance with the requirements of § 598A.210(3), simultaneous notice of this action was

mailed to the Nevada Attorney General by Plaintiffs. During the Class Period, Defendants’

illegal conduct substantially affected Nevada commerce. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured

in their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Nevada Rev. Stat.

Ann. § 598A.010, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all

relief available under Nevada Rev. Stat. Ann. § 598A.010, et seq.

       246.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of New Hampshire Revised Statutes § 356:1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout New Hampshire; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout New Hampshire; (3) Plaintiffs and members of the Damages

Class were deprived of free and open competition; and (4) Plaintiffs and members of the



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Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct substantially affected New

Hampshire commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property

and are threatened with further injury. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of New Hampshire Revised Statutes § 356:1, et

seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief available under

New Hampshire Revised Statutes § 356:1, et seq.

       247.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of New Mexico Statutes Annotated § 57-1-1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout New Mexico; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout New Mexico; (3) Plaintiffs and members of the Damages

Class were deprived of free and open competition; and (4) Plaintiffs and members of the

Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct substantially affected New

Mexico commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and members of the Damages Class have been injured in their business and property and are

threatened with further injury. By reason of the foregoing, Defendants have entered into an

agreement in restraint of trade in violation of New Mexico Stat. Ann. § 57-1-1, et seq.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under New

Mexico Stat. Ann. § 57-1-1, et seq.



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       248.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of New York’s Donnelly Act, New York General Business Laws § 340, et seq.

Defendants’ combination or conspiracy had the following effects: (1) generic digoxin and

generic doxycycline price competition was restrained, suppressed, and eliminated throughout

New York; (2) generic digoxin and generic doxycycline prices were raised, fixed, maintained

and stabilized at artificially high levels throughout New York; (3) Plaintiffs and members of the

Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

the Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and

generic doxycycline that were higher than they would have been absent Defendants’ illegal acts.

During the Class Period, Defendants’ illegal conduct substantially affected New York

commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Damages Class have been injured in their business and property and are

threatened with further injury. By reason of the foregoing, Defendants have entered into an

agreement in restraint of trade in violation of the New York’s Donnelly Act, New York General

Business Laws § 340, et seq. The conduct set forth above is a per se violation of the Act.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under New

York Gen. Bus. Law § 340, et seq.

       249.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes § 75-1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout North Carolina; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout North Carolina; (3) Plaintiffs and members of the Damages



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Class were deprived of free and open competition; and (4) Plaintiffs and members of the

Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct substantially affected North

Carolina commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and members of the Damages Class have been injured in their business and property and are

threatened with further injury. By reason of the foregoing, Defendants have entered into an

agreement in restraint of trade in violation of North Carolina Gen. Stat. § 75-1, et seq.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under North

Carolina Gen. Stat. § 75-1, et. seq.

       250.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of North Dakota Century Code § 51-08.1-01, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout North Dakota; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout North Dakota; (3) Plaintiffs and members of the Damages

Class were deprived of free and open competition; and (4) Plaintiffs and members of the

Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct had a substantial effect on

North Dakota commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property

and are threatened with further injury. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of North Dakota Cent. Code § 51-08.1-01, et seq.




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Accordingly, Plaintiffs and members of the Damages Class seek all relief available under North

Dakota Cent. Code § 51-08.1-01, et seq.

       251.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Oregon Revised Statutes § 646.705, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic digoxin and generic doxycycline price competition was

restrained, suppressed, and eliminated throughout Oregon; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained and stabilized at artificially high levels

throughout Oregon; (3) Plaintiffs and members of the Damages Class were deprived of free and

open competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct had a substantial effect on Oregon commerce. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury. By reason

of the foregoing, Defendants have entered into an agreement in restraint of trade in violation of

Oregon Revised Statutes § 646.705, et seq. Accordingly, Plaintiffs and members of the Damages

Class seek all relief available under Oregon Revised Statutes § 646.705, et seq.

       252.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of South Dakota Codified Laws § 37-1-3.1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout South Dakota; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout South Dakota; (3) Plaintiffs and members of the Damages

Class were deprived of free and open competition; and (4) Plaintiffs and members of the



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Damages Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct had a substantial effect on

South Dakota commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property

and are threatened with further injury. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of South Dakota Codified Laws Ann. § 37-1-3.1, et

seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief available under

South Dakota Codified Laws Ann. § 37-1-3.1, et seq.

       253.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of Tennessee Code Annotated § 47-25-101, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Tennessee; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout Tennessee; (3) Plaintiffs and members of the Damages Class

were deprived of free and open competition; and (4) Plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct had a substantial effect on

Tennessee commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property

and are threatened with further injury. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of Tennessee Code Ann. § 47-25-101, et seq.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under

Tennessee Code Ann. § 47-25-101, et seq.



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       254.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Utah Code Annotated § 76-10-3101, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic digoxin and generic doxycycline price competition was

restrained, suppressed, and eliminated throughout Utah; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained and stabilized at artificially high levels

throughout Utah; (3) Plaintiffs and members of the Damages Class were deprived of free and

open competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct had a substantial effect on Utah commerce. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury. By reason

of the foregoing, Defendants have entered into an agreement in restraint of trade in violation of

Utah Code Annotated § 76-10-3101, et seq. Accordingly, Plaintiffs and members of the Damages

Class seek all relief available under Utah Code Annotated § 76-10-3101, et seq.

       255.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Vermont Stat. Ann. 9 § 2453, et seq. Defendants’ combination or conspiracy had the

following effects: (1) generic digoxin and generic doxycycline price competition was restrained,

suppressed, and eliminated throughout Vermont; (2) generic digoxin and generic doxycycline

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

Vermont; (3) Plaintiffs and members of the Damages Class were deprived of free and open

competition; and (4) Plaintiffs and members of the Damages Class paid supracompetitive,

artificially inflated prices for generic digoxin and generic doxycycline. During the Class Period,

Defendants’ illegal conduct had a substantial effect on Vermont commerce. As a direct and



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proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury. By reason

of the foregoing, Defendants have entered into an agreement in restraint of trade in violation of

Vermont Stat. Ann. 9 § 2453, et seq. Accordingly, Plaintiffs and members of the Damages Class

seek all relief available under Vermont Stat. Ann. 9 § 2453, et seq.

       256.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of West Virginia Code § 47-18-1, et seq. Defendants’ anticompetitive acts described

above were knowing, willful, and constitute violations or flagrant violations of West Virginia

Antitrust Act. Defendants’ combination or conspiracy had the following effects: (1) generic

digoxin and generic doxycycline price competition was restrained, suppressed, and eliminated

throughout West Virginia; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained and stabilized at artificially high levels throughout West Virginia; (3) Plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and members of the Damages Class paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct had a

substantial effect on West Virginia commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Damages Class have been injured in their

business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of West Virginia

Code § 47-18-1, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

available under West Virginia Code § 47-18-1, et seq.

       257.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Wisconsin Statutes § 133.01, et seq. Defendants’ and their co-conspirators’



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anticompetitive activities have directly, foreseeably and proximately caused injury to Plaintiffs

and members of the Classes in the United States. Specifically, Defendants’ combination or

conspiracy had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Wisconsin; (2) generic

digoxin and generic doxycycline prices were raised, fixed, maintained and stabilized at

artificially high levels throughout Wisconsin; (3) Plaintiffs and members of the Damages Class

were deprived of free and open competition; and (4) Plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants’ illegal conduct had a substantial effect on the

people of Wisconsin and Wisconsin commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Damages Class have been injured in their

business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Wisconsin Stat. §

133.01, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

available under Wisconsin Stat. § 133.01, et seq.

       258.    Plaintiffs and members of the Damages Class in each of the above states have

been injured in their business and property by reason of Defendants’ unlawful combination,

contract, conspiracy and agreement. Plaintiffs and members of the Damages Class have paid

more for generic digoxin and generic doxycycline than they otherwise would have paid in the

absence of Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the

above states were designed to prevent and flows from that which makes Defendants’ conduct

unlawful.




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       259.     In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and

detriment of Plaintiffs and members of the Damages Class.

       260.     Accordingly, Plaintiffs and members of the Damages Class in each of the above

jurisdictions seek damages (including statutory damages where applicable), to be trebled or

otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the above state laws.

                                        THIRD COUNT

                         Violation of State Consumer Protection Statutes
                         (on behalf of Plaintiffs and the Damages Class)

       261.     Plaintiffs incorporate by reference the allegations set forth above as if fully set

forth herein.

       262.     Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the state consumer protection and unfair competition

statutes listed below.

       263.     Defendants have knowingly entered into an unlawful agreement in restraint of

trade in violation of the Arkansas Code Annotated, § 4-88-101, et seq. Defendants knowingly

agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing, controlling,

and/or maintaining at non-competitive and artificially inflated levels, the prices at which generic

digoxin and generic doxycycline were sold, distributed, or obtained in Arkansas and took efforts

to conceal their agreements from Plaintiffs and members of the Damages Class. The

aforementioned conduct on the part of Defendants constituted “unconscionable” and “deceptive”

acts or practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10). Defendants’

unlawful conduct had the following effects: (1) generic digoxin and generic doxycycline price


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competition was restrained, suppressed, and eliminated throughout Arkansas; (2) generic digoxin

and generic doxycycline prices were raised, fixed, maintained, and stabilized at artificially high

levels throughout Arkansas; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants’ illegal conduct substantially affected Arkansas commerce and

consumers. As a direct and proximate result of the unlawful conduct of Defendants, Plaintiffs

and members of the Damages Class have been injured in their business and property and are

threatened with further injury. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           264.   Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of California Business and Professions Code

§ 17200, et seq. During the Class Period, Defendants manufactured, marketed, sold, or

distributed generic digoxin and generic doxycycline in California, and committed and continue

to commit acts of unfair competition, as defined by § 17200, et seq. of the California Business

and Professions Code, by engaging in the acts and practices specified above. This claim is

instituted pursuant to §§ 17203 and 17204 of the California Business and Professions Code, to

obtain restitution from these Defendants for acts, as alleged herein, that violated § 17200 of the

California Business and Professions Code, commonly known as the Unfair Competition Law.

Defendants’ conduct as alleged herein violated § 17200. The acts, omissions, misrepresentations,

practices and non-disclosures of Defendants, as alleged herein, constituted a common,



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continuous, and continuing course of conduct of unfair competition by means of unfair,

unlawful, and/or fraudulent business acts or practices within the meaning of California Business

and Professions Code §17200, et seq., including, but not limited to, the following: (1) the

violations of Section 1 of the Sherman Act, as set forth above; (2) the violations of § 16720, et

seq. of the California Business and Professions Code, set forth above. Defendants’ acts,

omissions, misrepresentations, practices, and non-disclosures, as described above, whether or not

in violation of § 16720, et seq. of the California Business and Professions Code, and whether or

not concerted or independent acts, are otherwise unfair, unconscionable, unlawful or fraudulent;

(3) Defendants’ acts or practices are unfair to purchasers of generic digoxin and generic

doxycycline in the State of California within the meaning of § 17200, California Business and

Professions Code; and (4) Defendants’ acts and practices are fraudulent or deceptive within the

meaning of Section 17200 of the California Business and Professions Code. Plaintiffs and

members of the Damages Class are entitled to full restitution and/or disgorgement of all

revenues, earnings, profits, compensation, and benefits that have been obtained by Defendants as

a result of such business acts or practices. During the Class Period, Defendants’ illegal conduct

substantially affected California commerce and consumers. The illegal conduct alleged herein is

continuing and there is no indication that Defendants will not continue such activity into the

future. The unlawful and unfair business practices of Defendants, and each of them, as described

above, have caused and continue to cause Plaintiffs and members of the Damages Class to pay

supracompetitive and artificially-inflated prices for generic digoxin and generic doxycycline.

Plaintiffs and members of the Damages Class suffered injury in fact and lost money or property

as a result of such unfair competition. The conduct of Defendants as alleged in this Complaint

violates § 17200 of the California Business and Professions Code. As alleged in this Complaint,



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Defendants and their co-conspirators have been unjustly enriched as a result of their wrongful

conduct and by Defendants’ unfair competition. Plaintiffs and members of the Damages Class

are accordingly entitled to equitable relief including restitution and/or disgorgement of all

revenues, earnings, profits, compensation, and benefits that may have been obtained by

Defendants as a result of such business practices, pursuant to the California Business and

Professions Code, §§17203 and 17204.

       265.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq.

Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing,

controlling and/or maintaining, at artificial and/or non-competitive levels, the prices at which

generic digoxin and generic doxycycline were sold, distributed or obtained in the District of

Columbia. During the Class Period, Defendants’ illegal conduct substantially affected District of

Columbia commerce and consumers. The foregoing conduct constitutes “unlawful trade

practices,” within the meaning of D.C. Code § 28-3904. Plaintiffs and members of the Damages

Class were not aware of Defendants’ price-fixing conspiracy and were therefore unaware that

they were being unfairly and illegally overcharged. Defendants had the sole power to set that

price and Plaintiffs and members of the Damages Class had no power to negotiate a lower price.

Moreover, Plaintiffs and members of the Damages Class lacked any meaningful choice in

purchasing generic digoxin and generic doxycycline because they were unaware of the unlawful

overcharge, and there was no alternative source of supply through which Plaintiffs and members

of the Damages Class could avoid the overcharges. Defendants’ conduct with regard to sales of

generic digoxin and generic doxycycline, including their illegal conspiracy to secretly fix the

price of generic digoxin and generic doxycycline at supracompetitive levels and overcharge



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consumers, was substantively unconscionable because it was one-sided and unfairly benefited

Defendants at the expense of Plaintiffs and the public. Defendants took grossly unfair advantage

of Plaintiffs and members of the Damages Class. The suppression of competition that has

resulted from Defendants’ conspiracy has ultimately resulted in unconscionably higher prices for

purchasers so that there was a gross disparity between the price paid and the value received for

generic digoxin and generic doxycycline. Defendants’ unlawful conduct had the following

effects: (1) generic digoxin and generic doxycycline price competition was restrained,

suppressed, and eliminated throughout the District of Columbia; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout the District of Columbia; (3) Plaintiffs and members of the Damages Class were

deprived of free and open competition; and (4) Plaintiffs and members of the Damages Class

paid supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline.

As a direct and proximate result of Defendants’ conduct, Plaintiffs and members of the Damages

Class have been injured and are threatened with further injury. Defendants have engaged in

unfair competition or unfair or deceptive acts or practices in violation of District of Columbia

Code § 28-3901, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek all

relief available under that statute.

        266.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. § 501.201, et seq. Defendants’ unlawful conduct had the following effects: (1) generic

digoxin and generic doxycycline price competition was restrained, suppressed, and eliminated

throughout Florida; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout Florida; (3) Plaintiffs and



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members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and members of the Damages Class paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct

substantially affected Florida commerce and consumers. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured

and are threatened with further injury. Defendants have engaged in unfair competition or unfair

or deceptive acts or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       267.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated § 480-1, et seq.

Defendants’ unlawful conduct had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout Hawaii; (2)

generic digoxin and generic doxycycline prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout Hawaii; (3) Plaintiffs and members of the Damages Class were

deprived of free and open competition; and (4) Plaintiffs and members of the Damages Class

paid supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline.

During the Class Period, Defendants’ illegal conduct substantially affected Hawaii commerce

and consumers. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Damages Class have been injured and are threatened with further injury.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of Hawaii Rev. Stat. § 480-1 et seq., and, accordingly, Plaintiffs and members of the

Damages Class seek all relief available under that statute.




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       268.    Defendants    have    engaged    in unfair    competition or     unlawful,    unfair,

unconscionable, or deceptive acts or practices in violation of the Massachusetts Gen. Laws, Ch

93A, § 1, et seq. Defendants were engaged in trade or commerce as defined by G.L. 93A.

Defendants, in a market that includes Massachusetts, agreed to, and did in fact, act in restraint of

trade or commerce by affecting, fixing, controlling, and/or maintaining at non-competitive and

artificially inflated levels, the prices at which generic digoxin and generic doxycycline were sold,

distributed, or obtained in Massachusetts and took efforts to conceal their agreements from

Plaintiffs and members of the Damages Class. The aforementioned conduct on the part of

Defendants constituted “unfair methods of competition and unfair or deceptive acts or practices

in the conduct of any trade or commerce,” in violation of Massachusetts Gen. Laws, Ch 93A, §

2, 11. Defendants’ unlawful conduct had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout

Massachusetts; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout Massachusetts; (3) Plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and the members of the Damages Class paid supracompetitive, artificially inflated prices for

generic digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct

substantially affected Massachusetts commerce and consumers. As a direct and proximate result

of the unlawful conduct of Defendants, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of

Massachusetts Gen. Laws, Ch 93A, § 2, 11, that were knowing or willful, and, accordingly,




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Plaintiffs and members of the Damages Class seek all relief available under that statute,

including multiple damages.

       269.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Missouri Merchandising Practices Act, Mo. Rev.

Stat. § 407.010, et seq. Plaintiffs and members of the Damages Class purchased generic digoxin

and generic doxycycline for personal or family purposes. Defendants engaged in the conduct

described herein in connection with the sale of generic digoxin and generic doxycycline in trade

or commerce in a market that includes Missouri. Defendants agreed to, and did in fact affect, fix,

control, and/or maintain, at artificial and non-competitive levels, the prices at which generic

digoxin and generic doxycycline were sold, distributed, or obtained in Missouri, which conduct

constituted unfair practices in that it was unlawful under federal and state law, violated public

policy, was unethical, oppressive and unscrupulous, and caused substantial injury to Plaintiffs

and members of the Damages Class. Defendants concealed, suppressed, and omitted to disclose

material facts to Plaintiffs and members of the Damages Class concerning Defendants’ unlawful

activities and artificially inflated prices for generic digoxin and generic doxycycline. The

concealed, suppressed, and omitted facts would have been important to Plaintiffs and members

of the Damages Class as they related to the cost of generic digoxin and generic doxycycline they

purchased. Defendants misrepresented the real cause of price increases and/or the absence of

price reductions in generic digoxin and generic doxycycline by making public statements that

were not in accord with the facts. Defendants’ statements and conduct concerning the price of

generic digoxin and generic doxycycline were deceptive as they had the tendency or capacity to

mislead Plaintiffs and members of the Damages Class to believe that they were purchasing

generic digoxin and generic doxycycline at prices established by a free and fair market.



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Defendants’ unlawful conduct had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout Missouri;

(2) generic digoxin and generic doxycycline prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout Missouri; (3) Plaintiffs and members of the Damages Class

were deprived of free and open competition; and (4) Plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. The foregoing acts and practices substantially affected Missouri commerce and

consumers and constituted unlawful practices in violation of the Missouri Merchandising

Practices Act. As a direct and proximate result of the above-described unlawful practices,

Plaintiffs and members of the Damages Class suffered ascertainable loss of money or property.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under

Missouri’s Merchandising Practices Act, specifically Mo. Rev. Stat. § 407.020, which prohibits

“[t]he act, use or employment by any person of any deception, fraud, false pretense, false

promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any

material fact in connection with the sale or advertisement of any merchandise in trade or

commerce…”, as further interpreted by the Missouri Code of State Regulations, 15 CSR 60-

7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-9.010, et seq., and Mo. Rev. Stat. §

407.025.

       270.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Unfair Trade Practices and Consumer

Protection Act of 1970, Mont. Code, § 30-14-103, et seq., and § 30-14-201, et seq. Defendants’

unlawful conduct had the following effects: (1) generic digoxin and generic doxycycline price

competition was restrained, suppressed, and eliminated throughout Montana; (2) generic digoxin



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and generic doxycycline prices were raised, fixed, maintained, and stabilized at artificially high

levels throughout Montana; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants marketed, sold, or distributed generic digoxin and generic

doxycycline in Montana, and Defendants’ illegal conduct substantially affected Montana

commerce and consumers. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured and are threatened with further

injury. Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of Mont. Code, § 30-14-103, et seq., and § 30-14-201, et. seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       271.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq. Defendants

agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing, controlling

and/or maintaining at non-competitive and artificially inflated levels, the prices at which generic

digoxin and generic doxycycline were sold, distributed or obtained in New Mexico and took

efforts to conceal their agreements from Plaintiffs and members of the Damages Class. The

aforementioned conduct on the part of Defendants constituted “unconscionable trade practices,”

in violation of N.M.S.A. Stat. § 57-12-3, in that such conduct, inter alia, resulted in a gross

disparity between the value received by Plaintiffs and members of the Damages Class and the

prices paid by them for generic digoxin and generic doxycycline as set forth in N.M.S.A., § 57-

12-2E. Plaintiffs and members of the Damages Class were not aware of Defendants’ price-fixing

conspiracy and were therefore unaware that they were being unfairly and illegally overcharged.



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Defendants had the sole power to set that price, and Plaintiffs and members of the Damages

Class had no power to negotiate a lower price. Moreover, Plaintiffs and members of the

Damages Class lacked any meaningful choice in purchasing generic digoxin and generic

doxycycline because they were unaware of the unlawful overcharge, and there was no alternative

source of supply through which Plaintiffs and members of the Damages Class could avoid the

overcharges. Defendants’ conduct with regard to sales of generic digoxin and generic

doxycycline, including their illegal conspiracy to secretly fix the price of generic digoxin and

generic doxycycline at supracompetitive levels and overcharge consumers, was substantively

unconscionable because it was one-sided and unfairly benefited Defendants at the expense of

Plaintiffs and the public. Defendants took grossly unfair advantage of Plaintiffs and members of

the Damages Class. The suppression of competition that has resulted from Defendants’

conspiracy has ultimately resulted in unconscionably higher prices for consumers so that there

was a gross disparity between the price paid and the value received for generic digoxin and

generic doxycycline. Defendants’ unlawful conduct had the following effects: (1) generic

digoxin and generic doxycycline price competition was restrained, suppressed, and eliminated

throughout New Mexico; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and members of the Damages Class paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct

substantially affected New Mexico commerce and consumers. As a direct and proximate result of

the unlawful conduct of Defendants, Plaintiffs and members of the Damages Class have been

injured and are threatened with further injury. Defendants have engaged in unfair competition or



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unfair or deceptive acts or practices in violation of New Mexico Stat. § 57-12-1, et seq., and,

accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           272.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq. Defendants agreed

to, and did in fact, act in restraint of trade or commerce by affecting, fixing, controlling and/or

maintaining, at artificial and non-competitive levels, the prices at which generic digoxin and

generic doxycycline were sold, distributed or obtained in New York and took efforts to conceal

their agreements from Plaintiffs and members of the Damages Class. Defendants and their co-

conspirators made public statements about the prices of generic digoxin and generic doxycycline

that either omitted material information that rendered the statements that they made materially

misleading or affirmatively misrepresented the real cause of price increases for generic digoxin

and generic doxycycline ; and Defendants alone possessed material information that was relevant

to consumers, but failed to provide the information. Because of Defendants’ unlawful trade

practices in the State of New York, New York class members who indirectly purchased generic

digoxin and generic doxycycline were misled to believe that they were paying a fair price for

generic digoxin and generic doxycycline or the price increases for generic digoxin and generic

doxycycline were for valid business reasons; and similarly situated consumers were affected by

Defendants’ conspiracy. Defendants knew that their unlawful trade practices with respect to

pricing generic digoxin and generic doxycycline would have an impact on New York consumers

and not just Defendants’ direct customers. Defendants knew that their unlawful trade practices

with respect to pricing generic digoxin and generic doxycycline would have a broad impact,

causing consumer class members who indirectly purchased generic digoxin and generic



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doxycycline to be injured by paying more for generic digoxin and generic doxycycline than they

would have paid in the absence of Defendants’ unlawful trade acts and practices. The conduct of

Defendants described herein constitutes consumer-oriented deceptive acts or practices within the

meaning of N.Y. Gen. Bus. Law § 349, which resulted in consumer injury and broad adverse

impact on the public at large, and harmed the public interest of consumers in New York State in

an honest marketplace in which economic activity is conducted in a competitive manner.

Defendants’ unlawful conduct had the following effects: (1) generic digoxin and generic

doxycycline price competition was restrained, suppressed, and eliminated throughout New York;

(2) generic digoxin and generic doxycycline prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout New York; (3) Plaintiffs and members of the Damages Class

were deprived of free and open competition; and (4) Plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for generic digoxin and generic

doxycycline. During the Class Period, Defendants marketed, sold, or distributed generic digoxin

and generic doxycycline in New York, and Defendants’ illegal conduct substantially affected

New York commerce and consumers. During the Class Period, each of Defendants named

herein, directly, or indirectly and through affiliates they dominated and controlled, manufactured,

sold and/or distributed generic digoxin and generic doxycycline in New York. Plaintiffs and

members of the Damages Class seek all relief available pursuant to N.Y. Gen. Bus. Law §

349(h).

          273.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq. Defendants

agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing, controlling

and/or maintaining, at artificial and non-competitive levels, the prices at which generic digoxin



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and generic doxycycline were sold, distributed or obtained in North Carolina and took efforts to

conceal their agreements from Plaintiffs and members of the Damages Class. Defendants’ price-

fixing conspiracy could not have succeeded absent deceptive conduct by Defendants to cover up

their illegal acts. Secrecy was integral to the formation, implementation and maintenance of

Defendants’ price-fixing conspiracy. Defendants committed inherently deceptive and self-

concealing actions, of which Plaintiffs and members of the Damages Class could not possibly

have been aware. Defendants and their co-conspirators publicly provided pretextual and false

justifications regarding their price increases. Defendants’ public statements concerning the price

of generic digoxin and generic doxycycline created the illusion of competitive pricing controlled

by market forces rather than supracompetitive pricing driven by Defendants’ illegal conspiracy.

Moreover, Defendants deceptively concealed their unlawful activities by mutually agreeing not

to divulge the existence of the conspiracy to outsiders. The conduct of Defendants described

herein constitutes consumer-oriented deceptive acts or practices within the meaning of North

Carolina law, which resulted in consumer injury and broad adverse impact on the public at large,

and harmed the public interest of North Carolina consumers in an honest marketplace in which

economic activity is conducted in a competitive manner. Defendants’ unlawful conduct had the

following effects: (1) generic digoxin and generic doxycycline price competition was restrained,

suppressed, and eliminated throughout North Carolina; (2) generic digoxin and generic

doxycycline prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout North Carolina; (3) Plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) Plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for generic digoxin and generic doxycycline. During

the Class Period, Defendants marketed, sold, or distributed generic digoxin and generic



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doxycycline in North Carolina, and Defendants’ illegal conduct substantially affected North

Carolina commerce and consumers. During the Class Period, each of Defendants named herein,

directly, or indirectly and through affiliates they dominated and controlled, manufactured, sold

and/or distributed generic digoxin and generic doxycycline in North Carolina. Plaintiffs and

members of the Damages Class seek actual damages for their injuries caused by these violations

in an amount to be determined at trial and are threatened with further injury. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of North

Carolina Gen. Stat. § 75-1.1, et seq., and, accordingly, Plaintiffs and members of the Damages

Class seek all relief available under that statute.

        274.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Rhode Island Unfair Trade Practice and Consumer

Protection Act (R.I. Gen. Laws § 6-13.1-1, et seq.) Members of the Damages Class purchased

generic digoxin and generic doxycycline for personal, family, or household purposes. Defendants

agreed to, and did in fact, act in restraint of trade or commerce in a market that includes Rhode

Island, by affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive

levels, the prices at which generic digoxin and generic doxycycline were sold, distributed, or

obtained in Rhode Island. Defendants deliberately failed to disclose material facts to Plaintiffs

and members of the Damages Class concerning Defendants’ unlawful activities and artificially

inflated prices for generic digoxin and generic doxycycline. Defendants owed a duty to disclose

such facts, and considering the relative lack of sophistication of the average, non-business

purchaser, Defendants breached that duty by their silence. Defendants misrepresented to all

purchasers during the Class Period that Defendants’ generic digoxin and generic doxycycline

prices were competitive and fair. Defendants’ unlawful conduct had the following effects: (1)



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generic digoxin and generic doxycycline price competition was restrained, suppressed, and

eliminated throughout Rhode Island; (2) generic digoxin and generic doxycycline prices were

raised, fixed, maintained, and stabilized at artificially high levels throughout Rhode Island; (3)

Plaintiffs and members of the Damages Class were deprived of free and open competition; and

(4) Plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated

prices for generic digoxin and generic doxycycline. Defendants’ illegal conduct substantially

affected Rhode Island commerce and consumers. As a direct and proximate result of Defendants’

violations of law, Plaintiffs and members of the Damages Class suffered an ascertainable loss of

money or property as a result of Defendants’ use or employment of unconscionable and

deceptive commercial practices as set forth above. That loss was caused by Defendants’ willful

and deceptive conduct, as described herein. Defendants’ deception, including their affirmative

misrepresentations and omissions concerning the price of generic digoxin and generic

doxycycline, likely misled all purchasers acting reasonably under the circumstances to believe

that they were purchasing generic digoxin and generic doxycycline at prices set by a free and fair

market. Defendants’ affirmative misrepresentations and omissions constitute information

important to Plaintiffs and members of the Damages Class as they related to the cost of generic

digoxin and generic doxycycline they purchased. Defendants have engaged in unfair competition

or unfair or deceptive acts or practices in violation of Rhode Island Gen. Laws. § 6-13.1-1, et

seq., and, accordingly, Plaintiffs and members of the Damages Class seek all relief available

under that statute.

       275.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of South Carolina Unfair Trade Practices Act (S.C. Code

Ann. § 39-5-10, et seq.) Defendants’ combination or conspiracy had the following effects: (1)



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generic digoxin and generic doxycycline price competition was restrained, suppressed, and

eliminated throughout South Carolina; (2) generic digoxin and generic doxycycline prices were

raised, fixed, maintained, and stabilized at artificially high levels throughout South Carolina; (3)

Plaintiffs and members of the Damages Class were deprived of free and open competition; and

(4) Plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated

prices for generic digoxin and generic doxycycline. During the Class Period, Defendants’ illegal

conduct had a substantial effect on South Carolina commerce and consumers. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of S.C. Code Ann. § 39-5-10, et seq., and, accordingly, Plaintiffs and the members of

the Damages Class seek all relief available under that statute.

       276.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of 9 Vermont § 2451, et seq. Defendants agreed to, and

did in fact, act in restraint of trade or commerce in a market that includes Vermont, by affecting,

fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the prices at

which generic digoxin and generic doxycycline were sold, distributed, or obtained in Vermont.

Defendants deliberately failed to disclose material facts to Plaintiffs and members of the

Damages Class concerning Defendants’ unlawful activities and artificially inflated prices for

generic digoxin and generic doxycycline. Defendants owed a duty to disclose such facts, and

considering the relative lack of sophistication of the average, non-business purchaser,

Defendants breached that duty by their silence. Defendants misrepresented to all purchasers

during the Class Period that Defendants’ generic digoxin and generic doxycycline prices were



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competitive and fair. Defendants’ unlawful conduct had the following effects: (1) generic

digoxin and generic doxycycline price competition was restrained, suppressed, and eliminated

throughout Vermont; (2) generic digoxin and generic doxycycline prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

and members of the Damages Class paid supracompetitive, artificially inflated prices for generic

digoxin and generic doxycycline. During the Class Period, Defendants’ illegal conduct had a

substantial effect on Vermont commerce and consumers. As a direct and proximate result of

Defendants’ violations of law, Plaintiffs and members of the Damages Class suffered an

ascertainable loss of money or property as a result of Defendants’ use or employment of

unconscionable and deceptive commercial practices as set forth above. That loss was caused by

Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception, including

their affirmative misrepresentations and omissions concerning the price of generic digoxin and

generic doxycycline, likely misled all purchasers acting reasonably under the circumstances to

believe that they were purchasing generic digoxin and generic doxycycline at prices set by a free

and fair market. Defendants’ misleading conduct and unconscionable activities constitutes unfair

competition or unfair or deceptive acts or practices in violation of 9 Vermont § 2451, et seq.,

and, accordingly, Plaintiffs and members of the Damages Class seek all relief available under

that statute.

                                      FOURTH COUNT

                                     Unjust Enrichment
                       (on behalf of Plaintiffs and the Damages Class)

       (All States, District of Columbia and U.S. Territories, Except Ohio and Indiana)




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       1.       Plaintiffs incorporate by reference the allegations set forth above as if fully set

forth herein.

       2.       To the extent required, this claim is pleaded in the alternative to the other claims

in this Complaint.

       3.       Defendants have unlawfully benefited from their sales of digoxin and doxycycline

because of the unlawful and inequitable acts alleged in this Complaint. Defendants unlawfully

overcharged End-payers, who made purchases of or reimbursements for digoxin and doxycycline

at prices that were more than they would have been but for Defendants’ unlawful actions.

       4.       Defendants’ financial benefits resulting from their unlawful and inequitable acts

are traceable to overpayments by Plaintiffs and members of the Damages Class.

       5.       Plaintiffs and the Damages Class have conferred upon Defendants an economic

benefit, in the nature of profits resulting from unlawful overcharges, to the economic detriment

of Plaintiffs and the Damages Class.

       6.       Defendants have been enriched by revenue resulting from unlawful overcharges

for digoxin and doxycycline while Plaintiffs have been impoverished by the overcharges they

paid for digoxin and doxycycline imposed through Defendants’ unlawful conduct. Defendants’

enrichment and Plaintiffs’ impoverishment are connected.

       7.       There is no justification for Defendants’ retention of, and enrichment from, the

benefits they received, which caused impoverishment to Plaintiffs and the Damages Class, because

Plaintiffs and the Damages Class paid supracompetitive prices that inured to Defendants’ benefit,

and it would be inequitable for Defendants to retain any revenue gained from their unlawful

overcharges.




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       8.      Plaintiffs did not interfere with Defendants’ affairs in any manner that conferred

these benefits upon Defendants.

       9.      The benefits conferred upon Defendants were not gratuitous, in that they

constituted revenue created by unlawful overcharges arising from Defendants’ illegal and unfair

actions to inflate the prices of digoxin and doxycycline.

       10.     The benefits conferred upon Defendants are measurable, in that the revenue

Defendants have earned due to their unlawful overcharges of digoxin and doxycycline are

ascertainable by review of sales records.

       11.      It would be futile for Plaintiffs and the Damages Class to seek a remedy from any

party with whom they have privity of contract. Defendants have paid no consideration to any

other person for any of the unlawful benefits they received indirectly from Plaintiffs and the

Damages Class with respect to Defendants’ sales of digoxin and doxycycline.

       12.     It would be futile for Plaintiffs and the Damages Class to seek to exhaust any

remedy against the immediate intermediary in the chain of distribution from which they

indirectly purchased digoxin and doxycycline, as the intermediaries are not liable and cannot

reasonably be expected to compensate Plaintiffs and the Damages Class for Defendants’

unlawful conduct.

       13.     The economic benefit of overcharges and monopoly profits derived by

Defendants through charging supracompetitive and artificially inflated prices for digoxin and

doxycycline is a direct and proximate result of Defendants’ unlawful practices.

       14.     The financial benefits derived by Defendants rightfully belong to Plaintiffs and

the Damages Class, because Plaintiffs and the Damages Class paid supracompetitive prices

during the Class Period, inuring to the benefit of Defendants.



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        15.     It would be inequitable under unjust enrichment principles under the law of the

District of Columbia and the laws of all states and territories of the United States, except Ohio

and Indiana, for Defendants to be permitted to retain any of the overcharges for digoxin and

doxycycline derived from Defendants’ unlawful, unfair and unconscionable methods, acts, and

trade practices alleged in this Complaint.

        16.     Defendants are aware of and appreciate the benefits bestowed upon them by

Plaintiffs and the Damages Class. Defendants consciously accepted the benefits and continue to

do so as of the date of this filing.

        17.     Defendants should be compelled to disgorge in a common fund for the benefit of

Plaintiffs and the Damages Class all unlawful or inequitable proceeds they received from their

sales of digoxin and doxycycline.

        18.     A constructive trust should be imposed upon all unlawful or inequitable sums

received by Defendants traceable to indirect purchases of digoxin and doxycycline by Plaintiffs

and the Damages Class. Plaintiffs and the Damages Class have no adequate remedy at law.

                                  XIV. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment for the following relief:

        1.      The Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

Notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

given to each and every member of the Class;

        2.      That the unlawful conduct, contract, conspiracy, or combination alleged herein be

adjudged and decreed: (a) an unreasonable restraint of trade or commerce in violation of Section

1 of the Sherman Act; (b) a per se violation of Section 1 of the Sherman Act; (c) an unlawful

combination, trust, agreement, understanding and/or concert of action in violation of the state
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antitrust and unfair competition and consumer protection laws as set forth herein; and (d) acts of

unjust enrichment by Defendants as set forth herein.

       3.         Plaintiffs and members of the Damages Class recover damages, to the maximum

extent allowed under such state laws, and that a judgment in favor of Plaintiffs and members of

the Damages Class be entered against Defendants jointly and severally in an amount to be

trebled to the extent such laws permit;

       4.         Plaintiffs and members of the Damages Class recover damages, to the maximum

extent allowed by such laws, in the form of restitution and/or disgorgement of profits unlawfully

obtained;

       5.         Plaintiffs and members of the Damages Class be awarded restitution, including

disgorgement of profits Defendants obtained as a result of their acts of unfair competition and

acts of unjust enrichment, and the Court establish of a constructive trust consisting of all ill-

gotten gains from which Plaintiffs and members of the Damages Class may make claims on a

pro rata basis;

       6.         Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any

manner continuing, maintaining or renewing the conduct, contract, conspiracy, or combination

alleged herein, or from entering into any other contract, conspiracy, or combination having a

similar purpose or effect, and from adopting or following any practice, plan, program, or device

having a similar purpose or effect;

       7.         Plaintiffs and members of the Classes be awarded pre- and post- judgment interest

as provided by law, and that such interest be awarded at the highest legal rate;



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                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 27th day of January, 2017, I filed the foregoing End-Payer

Plaintiffs’ Consolidated Class Action Complaint with the Clerk of Court who will electronically

enter said filing on the docket. Thereafter via ECF Notifications said filing will be served on all

interested parties registered for electronic filing and be available for viewing and downloading

from the Court’s ECF system.



                                                       /s/ Roberta D. Liebenberg
                                                      Roberta D. Liebenberg
